Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 1 of 57

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

WHITMAN-WALKER CLINIC, Inc. et.
al.
(Plaintiffs)

V. 1:20-cv-01630-JEB

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES et. al.
(Defendants)

AMICUS BRIEF BY
(1) DE FACTO ATTORNEYS GENERAL, (2) SPECIAL FORCES OF LIBERTY, (3)
THE ALLIANCE OF BLACK AND WHITE EX-GAYS AND EX-TRANS, (4) CENTER
FOR GARDEN STATE FAMILIES, (5) COALITION OF DOCTORS DEFENDING
REPARATIVE THERAPY, (6) THE COALITION OF MULTI-RACIAL PASTORS, (7)
WARRIORS FOR CHRIST IN SUPPORT OF DEFENDANTS

QUESTION PRESENTED
Should the Plaintiffs’ case be dismissed for lack of subject matter jurisdiction and for

failing to state a claim upon which relief can be granted?

What is the controlling Constitutional basis supporting the 2020 Trump Rule that
repealed and replaced the 2016 Obama Rule and does Bostock overrule the 2020 Trump Rule?

Should the Court sua sponte dismiss this case?
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 2 of 57

INTEREST OF THE PARTIES
The interest of the parties are found in the attached declarations.’

 

‘ De Facto Attorneys General consists, primarily of former Judge Advocate Generals, assistant
State Attorneys General, and assistant U.S. Attorneys. De Facto Attorneys General takes on
political hot topics that are sometimes too complex for the different aspects of DOJ to handle
alone. The paramount mission of De Facto Attorneys General is to uphold the Constitution of
the United States and the rule of law, preventing other groups like the Plaintiffs in this case from
twisting the Constitution. See Penkoski v. Bowser, 1:20-cv-01519 (D.D.C. June 10, 2020).

Special Forces Of Liberty is a group of highspeed Soldiers who author laws that parallel
Judaeo-Christian principles in an effort to maximize human flourishing. Some of the relevant
legislation that SFOL has authored that is relevant to this action is the Disentanglement Act; the
Life Appropriation Act; the Elevated Marriage Act; and the Stop Social Media Censorship Act.
(See www.disentanglementact.com; www.lifeappropriationact.com;

www.stopsocialmediacensorshipact.com)

An Alliance Of Ex-Gays and Ex-trans consists of former self-identified homosexuals and
self-identified transvestites who were once leaders in the LGBTQ cult. They now seek to expose
the horrors and lies of the dangerous LGBTQ cult and its religious ideology, while giving voice
to voiceless ex-gays and ex-trans individuals. See Declaration of Alliance of Black and White
Ex-Gays and Ex-Trans; see declarations of Quinlan, Goodspeed, Cothran, and Harley.

The Center For Garden State Families’ mission is to protect and promote faith, freedom and
the natural family, in culture and public policy. https://www.gardenstatefamilies.org/. See the
declaration of Quinlan.

The Coalition Of Doctors Defending Reparative Therapy consists of doctors who attest that
there is no such thing as a gay gene and that the idea that sexual orientation is predicated on
immutability is a lie. See the declaration of Dr. Tara King.

Coalition Of Multi-Racial Pastors consists of pastors, religious experts, theologians, and
licensed ministers who testify that Secular Humanism is a religion and that the LGBTQ cult is a
denominational sect that is inseparably linked to that religion. See the Declaration of the
Coalition of Multi-Racial Pastors.

Warriors For Christ consists of Christians who have been viciously persecuted in the LGBTQ
cult in the wake of the government’s endorsement of their dangerous and phony tolerance
agenda. https://www.wfechurch.org/. See the declaration of Pastor Penkoski, Lisa Boucher, and
Christian Resistance.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 3 of 57

TABLE OF CONTENTS
I. INTRODUCTION

i THE 2016 OBAMA RULE VIOLATED THE ESTABLISHMENT CLAUSE OF THE
FIRST AMENDMENT WHEREAS THE TRUMP 2020 RULE DOES NOT
—— ee on
sR ——————————————
5. Bom The 1940s Forward . Religion includes Theis and Nomctheisn
a B THE ESTABLISHMENT CLAUSE AS IT RELATES TO SECULAR HUMANISM
veeeenees a a eeesrrerereneeseecssecceemanaa |
17

D. THE EVIDENCE SHOWS THAT THE LGBTQ CULT IS A DENOMINATIONAL
SECT THAT IS INSEPARABLY LINKED TO THE RELIGION OF SECULAR
HUMANISM.
Il]. THE PLAINTIFFS’ CASE SHOULD BE DISMISSED WITH PREJUDICE BECAUSE
THE 2016 OBAMA RULE VIOLATES ALL THREE PRONGS OF THE LEMON TEST BY A
LANDSLIDE

A. THE COURT SHOULD DISMISS THE PLAINTIFFS’ COMPLAINT BECAUSE
THE 2016 OBAMA RULE WAS A SHAM THAT FAILS PRONG ONE OF

1. The Language Within The Four Corners Of The Plaintiffs’ Self-Defeating
Complaint Shows That The 2016 Rule Was A Sham That Lacked A Primary
Secular Purpose

2. The Plaintiffs Falsely Camouflaging Their Plight In Equal Protection
Language Shows The 2016 Rule Was A Sham Predicated On An
Unprincipled Ploy

3. The Plaintiffs’ Attempted Misuse Of The Substantive Due Process Clause
Demonstrates That the 2016 Rule Is A Non-Secular Sham

4. The Plaintiffs’ Case Is Based On Nothing More Than Emotional Appeals
That Cannot Be Used To Usurp The Establishment Clause
B. THE COURT SHOULD DISMISS THE PLAINTIFFS ACTION BECAUSE THE
2016 RULE FAILS PRONG TWO OF THE LEMON TEST WHEREAS THE 2020
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 4 of 57

TRUMP RULE DOES NOT
Jd eNN EE CUIaRaRe Os ReNNUl Ha aaaaEN eae ne hei sen oe ie neaaaNaba aaa saaeN 33
C. THE PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED BECAUSE THE
2016 OBAMA RULE FAILED PRONG THREE OF LEMON
bec cea ease cece seeceneeeeeeegeeeeeeeeeeeeeeeseeeeeeaeeeteeeeeeeeeeeneeeeeeeeeeeeeeeneeeeeeeteesnaeeneeseetaaees 38
V. THE PLAINTIFFS’ CASE SHOULD BE DISMISSED BECAUSE HHS HAS A
NARROWLY TAILORED COMPELLING INTEREST TO UPHOLD COMMUNITY
STANDARDS OF DECENCY
Staaten ae eareaoaieias bla lala ala alotAUNAlA el area aloe UlaNlalaalUlae SlaALA a Hala RM NMRRLRS Ww aaLAA ie culNialea cele aa Uren 39
VI. ADDRESSING THE ULTIMATE QUESTION - PUBLIC INTEREST
singled sitisiislessulbaceaesesJOUNINBNNNAY ST NOTINNNGIININRSMOREUT MOS MARALD WS a LUNE EUAN Rar acumen 41
VII. CONCLUSION
SE OORT RETR TREE ET EE ETS TTR RCT CE TEE CETTE EMRE ESTEE ETS TET T TE Tee TET ET IT ES CTT 45
Table Of Cases
Agostini v. Felton,
521 U.S. 203 (1997)
jigaleewwns'e'sd b.a0.nc0 a aaa Ruane ndn NaN A NNN HANA DEANS aBSANE RING ERE RON mo U0 Gane SUS SaEN EN BAIN NN ESN cuEETNERN 22
ACLU v. Rabun Cnty. Chamber of Commerce, Inc.,
698 F.2d 1098 (11th Cir. 1983)
sSNA aaa ales oR PU Sn AL Reda ee ba NNaNAla Ns TaWanale salle slaalalaaiadadlaaaoavoeeeuseaaexeaniine 23
Am. A theists, Inc. v. City of Starke,
2007 U.S. Dist. LEXIS 19512 (M.D. Fla. 2007)
Ne ee 25
Bostock v. Clayton Cty., Ga.,
590 U.S. __, 2020 WL 3146686 (2020)
ee enna enna 2, 21, 31, 36
Berman was had in George v. United States,
196 F.2d 445 (9th Cir. 1952)
se caitecctas ae Sew aia ANN law SIN NN laisieislaialenienlste Uh aN NUS NWN p's OPA dte Ninel pilininhianinnailennswavaereTaers 8
Brown y. Board of Educ.,
347 U.S. 483 (1954)
saa a ava aac hava NA WNT LL aN RO NIRS ORLA NLU ST RNS ROA ENR NTE TEED 28, 36
Bowers v. Hardwick,
478 U.S. 186 (1986)
beste ae eden eee eae eee eeeeeeaeaceeeaeeeeeseeea ease eeeeaeeeeeeeeeseeneeseeseeeeesseeeseeeeeeeeeeeneneeeeneneeeeeets 31
Board of Educ, of Kiryas Joel Vill. Sch. Dist.v. Grumet,
512 U.S. 687 (1994)
snp n winnie TTT SGT SB GiGi a Wn BRU SINUTLST OTS NINNLON Oe RSLS SLC LN aa wa wa oS SECM 34, 35
Bookcase, Inc. v. Broderick,
18 N.Y.2d 71 (1966)
stare aaa RR UTR TE a aa RO EIR STE TORR TRO RTA RTENTENTOIBIE ONTARIO atu TNNITOORT 40

City of Boerne v. Flores,
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 5 of 57

521 U.S. 507 (1997)
bese eateeese cee eeseesaeeeeeeeeaeeeeeeeeeeeeeeteeaeaeeeeeeeeeeeneeseaeeeeeseeeeenseseeeeeeeneeeneeneneeeegenew esses 34
County of Allegheny v. ACLU,
492 US 573 (1989)
ee Te ne ean nanan EnEEEED 35
Cooper Industries, Inc. v. Aviall Services, Inc.
543 U.S. 157 (2004)
aga asemrrnsearsastece pease mien tse mses mmm egeremressaresnaiaieaon manasa nin s's SSELUS NAA WalUR ERATE RAHA GER SR NEMO RUNS 36
Committee for Pub. Educ. v. Nyquist,
413 US. 756 (1973)
a 38
Church of the Holy Trinity v. United States,
143 U.S. 457 (1892)
a tee cie mae macecacemsayen mavee necpeneenneeacestecrnunsenacnimeacecesem menses unginyg ween-ne:9 FOE AN'GA-B ba HUNiaNtalNaRaING BASIN SASSER EER OROTS 43
Davis v. Beason,
133 U.S. 333 (1890)
StdsnspbuevecexsibcdvnslaaaN wens lepautWislien vues WerensyeqwunnE Se cite ems cI. 5, 6, 14
District Attorney's Office for Third Judicial Dist. v. Osborne,
557 U. S. 52 (2009)
ditduk camera cere t REE NEREkRsnaN ESSN ENA NTAIRALEATE BA UDTR TORR CRT ETHEITE Aki Wein NOM ANNE NEANIlSRemaniRNTaaeNmENEnE 31
Dred Scott v. Sandford,
60 U.S. 393 (1857)
ojessnnseete scr ares seen eiet ere msi einm mses emer RN NEI TF Sem nance ste tar rane saeranesmsarea mn ga R AER MEL RENE RENTERS 36
Edwards y. Aguillard,
482 U.S. 578 (1987)
Sis sip Sie Lar SEN Se alba uit ates sided ans dULOUUdL Ue eWuN Ubu seaNitersuWeNreReaoR cco mE. 22, 23
Everson v. Board of Education,
330 US. 1 (1947)
soi wea ane ene bs Satna ea cearen aaa nateane are eaceaw aUAceAlaNe a een eT Na Ea Le eae eS 6 DUE ae elei SS NIAIORCONMINAS eS eKON 14, 16, 38
Fellowship of Humanity v. County of Alameda,
153 Cal. App. 2d 673 (1957)
soccer asta see oes nero mason poe neon renrace mur Ensenea een miesennnina nna upceseomane es esmremmeceereeeterreresienesmnmemnnninmsminerunes STE 3, 10
George v. United States,
196 F.2d 445 (9th Cir. 1952)
SSE SEARLES SEERA SENECA NSEC DA MENSA saa ONAN DAN TUN EAR aKnaTaee 9
Ginsberg v. New York,
390 U.S. 629 (1968)
sas Sata ea a SEE Ea easea Salaalae RN enna naR MER enn aKa RE RRR eEE AONE ERROR 31
Hein v. Freedom From Religion Foundation,
551 U.S. 587 (2007)

2

Holloman v. Harland,
370 F.3 1252 (11th Cir. 2004)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 6 of 57

Indiana Civil Liberties Union v. O’Bannon,
259 F.3d 766 (7th Cir. 2001)

beet c ee eeee eee eee cecee seen eeeeeeeeeeeeeeeeeeeeeetetaeeeeeeeeeeeeeeeeeeeeeeeeeeeseeeateeeeetengeeneeeegeenes 34
Jagar v. Douglas County School,

862 F.2d 824 (11th Cir. 1989)

iC SS ROR eR RAE CA EERE CURR TRUR RUTH SHAHN EA ES ERS BAT SEIS GAN DEINE RLU DEM A a RNib ae URAC REET RRS EES 32
Kiobel v. Royal Dutch Petroleum Co.,

621 F.3d 111 (2d Cir. 2010)

SSS a AIRES aa rae aaa ala CN Ua ENTU Snel wala alt albal ala daa Sa A View ve saa Wail delolaaleauaaaea eae RSet 42
Larkin v. Grendel's Den,

459 U.S. 116 (1982)

ceed e eee eee eee ee cece eee e este eeeeeeeee eens seas sees ee sneeaeneeseaeeeeeeeeaeaeeeeseaeseeeeteeaeeeeseaeueeeeeesees 34
Lawrence v. Texas,

539 U.S. 558 (2003)

WEP PR TE PP nee HENNE aR RIA Rn oT TES waa 31
Lemon v. Kurtzman,

403 U.S. 602 (1971)

ssisibtiseu as daeneee ese welWencremernsencemgaimac snore uuactounsayyaamaNRNENSE nRNENa Reel ewaceauEnlE 22, 23
Lee v. Weisman,

505 U.S. 577 (1992)

ESSE SRNR ANAESTH UATE SW a8 Sa 8 ED Siew a UI AIGO SHED AIRS W A OAIELE SIE IFIED TTNSTOMTE NTO NaeUyaeAeW ENSURE Cede eRe aeMEED 23
Lindell v. McCallum,

352 F.3d 1107 (7th Cir. 2003)

0 oe eee 4
Liberty v. Nyquist,

413 U.S. 756 (1973)

1 Zee aeiaislniateDeialeelaialy Sia wolaiot labs awsoltiasesnsnehnihipaiuloveuaiaialalelauleshisieisTwisiolalavuatavestsasaisasltediaidlialbsaiasalasaia a awacae WAR VAWeNNioR Whaat Ear EE 23
Lynch v. Donnelly,

465 U.S. 668 (1984)

Sasacses te nU SNe nce ees aroe ITE SCI ER aR TESGER RRR CRT REO RE RRC EN MIRREN T TEEN EME SERNA 37
Malnak v. Yogi,

592 F.2d 197 (3d Cir.1979)
Leeeeeeeeeeeaeeeeeseeseneneeeeaeeeneeeeaeneuseeeeeseseeeeeeueuseeeaeueeseaeaeueuseeeeeueseaeueueneuaeueuengeueueuers 4
Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Commission,

138 S. Ct. 1719 (2018)

CSUSB SCC SO TSS EE TUES OSTA SSOS SS BAG CANCE NASUSSAG Nel CU WA URURA UREA MANNA RET aCe eared eeee DES 23
McCreary Cnty, Ky. v. ACLU of Ky.,

545 U.S. 844 (2005)

sce siassaeaiai neal AE ah RNa I TRAM OA ETOR a arm ORIR I RG a ec REELS ana aaa NEN saeStOaEN. 23, 33
Mitchell v. Helms,

530 U.S. 793 (2000)

beset eta eeceeeeeeeeeeeeeeeeeeeseeeeseeeeneeeeneeeesseeeneneeeensessnaeeeseeeseeeneeseeseeaeueeeneeseeee snes 22, 38

Mishkin v. State of New York,
383 U.S. 502 (1966)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 7 of 57

Moore v. East Cleveland,
431 U.S. 494 (1977)

cUssUe HeMaeL deeseeuuaeiedeienneNEncEIRe OREN EEE AREER Sa esaesswee caeesnesutanenememedaenennneey 32
Ninth Circuit in Berman v. United States,

156 F.2d 377 (9th Cir. 1946)

cc cacateceeeueeeeeeeeeeeaeceeeeueeeeeeeseteseeseseeeeeeeeeeeeeeeeeeneteeeeeseeeeeeeeeeeeseeeeeeeeeeeeeeeeneeseesens 8
Obergefell v. Hodges,

135 S.Ct. 2584 (2015)

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Paris Adult Theatre Iv. Slaton,

413 US 49 (1973)

J YaST SSGUR Galena MUana ease ANlNS RbNNNESeRe aR aMRaLuUN eis aTeR cen cam caemeNeaNateneeaNauleinNaalleNKe 39
Planned Planned Parenthood v. Casey,

505 U.S. 833 (1992)

oie see rataatanraanareeeneeaan Neer aa eNena ees ewe ese alaleee di Mieaane ewer eueee eon enMENeEND EE MmSREELENEHNHEEEENS 43
Plessy v. Ferguson,

163 U.S. 537 (1896)

ahaa cocoa apcenODAEseE AINE smaren mn aapnnesenses-earareaseasessesen mss aa TSENNS Naa AATHATAS ST PSENAEAGEE AAU 36
Reynolds v. United States,

98 U.S. 145 (1878)

aaiae aera uc ESS NTs wisiislenie nw tnwuananalbWiNeNR RRR ARIT 4,5, 14, 31, 43
Real Alternatives, Inc. v. Se'y Dep 't of Health & Human Ser, 150 F. Supp. 3d 419 (3d Cir. 2017)
psn mensn noes. ipo al STG: Ge SSW TOTS WTS TSR SINE ES OE SSS win awd uialoatale elgneldlatsatsslaneaibNialaaaion 4,18
Rosenberger v. Rector & Visitors of the Univ, of Va ,

515 U.S. 819 (1995)

shins aeranaaaesescieicse come saee cs eertcaea eee eeu eneenninde meee ERNE emRNNNES NRO 38
Santa Fe Indep, Sch. Dist v, Doe,

530 U.S. 290 (2000)

ce ecesecececececeeeeeteeeeeeeneceneneneceneueceeeaeaeueaeaeaererereeeseeeteeeseeeeeeeeeueneceesesesesesgsenses 37
Schlegel v. United States,

416 F. 2d 1372 (Ct. Cl. 1969)

noceacenemaqrescngcepe-sina'n-s sh{NGAERR A.M iaa ge GoeUTOS TS USS SUISSIRNI GION TS SUSTSWS TOURS E ION Iie Ig eee iat otcaleiaaisaieialani 37
School District of A Bington Township, Pa. v. Schempp,

374 US. 203 (1963)

SciddaowbsllesWlWWlida eaNRRNN CraSecR Nee eee cer maa Tenn EeRE Enea enmam TERENCE 14, 16
School Dist. v. Ball,

473 U.S. 373 (1985)
ceveeceeeeceauaeeeeeeeseeeeeseeeeeeseeeteeeseeeeeeeeeeeeaeeeeseaeeeseseseneneeeeeeeeeeeeeeeeeeertereerereenes 34
Slaughter-House Cases,

83 U.S. 36 (1873)

ananewese neepanmnnemeremenenenememeesenenmnreaeresesesenes a sebU sss nese slslbeea uuslesaduuledltonpasnonmemepemmaes 28
Seminole Tribe of Fla. v. Florida,

517 US. 44 (1996)

SSA SST RE RCE RE SCE S UMC UTS N Se RUA RNG WDIUANadesewaANg=ce RCE E er ear ear eUa TE RREEONENNNS 37

St. Joseph Stock Yards Co. v. United States,
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 8 of 57

298 U.S. 38 (1936)

ia gos SS TS Sia SRS ABILENE i RAH A as SIN A UWS Wa TEsECERGANROTETEGRT ESN DORIG'S 37
Theriault v. Silber,

547 F.2d 1279 (Sth Cir. 1977)

saisre ui diiai nada nateuluenntaee ce daaaUaNUanNN Ne lea aRUAIaas TERS Ea AME UNOO 4
Thomas v. Review Bd.,

101 S.Ct. 1425 (1981)

RE TN 4
Torcaso v. Watkins,

367 U.S. 488 (1961)

ssa wernejasenatraeston enim esas eveeeesenteesc ace pcre eamse sean tone tcrceaaner ence ctetunen impress BEARS A TREES RE REM ER AS TSMR BRUNER EE: 3, 10, 16
Troxel v. Granville,

530 U.S. 57 (2000)

SS SSG Sa RE Rn GaaN AN Na Mia UADOIGIN SNA Wetb dione os0 545950504 TSN TUN saul UN NEEM ARURRR REE 32
Trunk v . City of San Diego,

629 F.3d 1099 (9th Cir. 2011)

wrasara tape uypesatan asa Saou ATE aracicinaria acta SIS ci HIS HaCI roc eS NS Ra RUTTER RST ERORE HEED 25
United States v. Kauten,

133 F.2d 703 (2d Cir. 1943)

ace pcezaesnyasaocaconenras oto re a onorvoenssensees eee e yeast ans avtamtsevtenmonasepmnseocnsteseseeeceanennen sta tamer ster coee netcttctertstertcacraus euneen EORS 8
United States v. Seeger,

380 U.S. 163 (1965)

PTE ET eT ETT TE TE TT eM nT 11, 13
United States v. Macintosh,

283 U.S. 605 (1931)

scares ase sasssmserataae ant ma ans aNMMSAAtU acacia ataC ac Seu hota NS RO RONENE 7
United States v. Salerno,

481 U. S. 739 (1987)

ceca eceneeeeeeteeeeeeseeeeseeeeneeeeeeeareeeteseeateeeeeeeeseeseeeeeeteseeeeeseeseeeeeeeeeteeeeeeeeenereenneees 31
United States v. Windsor,

133 S.Ct. 2675 (2013)

ERS pa ea RA THAN SRT SAS INS EAST OSE SEES EIST SETTLE ATER TSAR BAS OANA UR 31
Wallace v. Jaffree,

472 U.S. 38 (1985)

S clcW Sanna NaN eae sei eaue aeaaNL Naa eau aR eae rae eaeaN aN E aa aNeaanilnrNees 34
Washington Ethical Society v. District of Columbia,

101 U.S. App. D.C. 371 (D.C. Cir 1957)

ceca eecueeaeeaceueeueeseeseneeseeseereeeeeeeeteeeeeeeeteeteeeeeenseeeaeeeeeeeseeeeeneeeeaeneeeeeeeeeeeueeses 3, 10
Washington v. Glucksberg,

521 U.S. 702 (1997)

asesermncn eaennceinimererecmierpceone-acremesmerpareeneenin eiemseieyymen rieceseynersttinr§ 8B i BihAR TASB SSA AGH TERRA TS TE AEE R Bw SOUS ET EU 31
Wells v. City and County of Denver,

257 F.3d 1132 (10th Cir. 2001)

SWE D ain eaiewe ses 5 AN IN blade ced es EMDR PENN DIE INNER creme WeE scteuateNennameRRNSRETS 4

Welsh v. United States, 398 U.S. 333 (1970)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 9 of 57

a 13
Zorach vy. Clauson,

343 U.S. 306 (1952)

covsnwemasneneneseseresmasesesesnsenemeqeesmaceoes:an-si in o.binnind waa pei ainiea’jpn sais’ saiaiaiia is eiaiialsaragrianieeowe wee wemiens 10
Other Authorities

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Shue de aeouedeN ENUM KeNeN AMER reece RENN Tas SIGNI SHA SeaeEN ENE eTaceMRDecTasdmeneoanens 6, 14
Constitutional Definition of Religion, 91 HARV. L. Rav. 1056 (1978)

Jide sennae RETESET er ce cnor menmENTNRRTENNENNERRETONKRRMUTRTEEE a0 6, 9, 12, 13, 14
50 U.S.C. § 456

5 SS USES SSSSUSA SASSO NIE SOU A Lease ods slg a sislaiste ma pisie a alewtie wie ww Rea eA ee emo EREES 8

P. JACOB, THE CONSCRIPTION OF CONSCIENCE: THE AMERICAN STATE AND THE
CONSCIENTIOUS OBJECTOR, 1940-47 (1952)

siicwawe co vate auawernewelsm sue eiiuedeaeenaaRn eal OoET Ree eLenOLeeNa ees es Sew ST MeN aS TER eaten ces eeabaaimendneanee 8
Toms and Whitehead, The Religious Student in Public Education: Resolving a Constitutional
Dilemma, 27 EMORY L.J. 3 (1978)

sine eae ne HSE ONO URRRaEER ERENT RENNARMAN AE NONNARNERORERITERSROTEETeTeTeeeTeeeceresses nee sesetitstht 10
Blanshard, Three Cheers for Our Secular State, HUMANIST, Mar./Apr. 1976

be cceaceseceueneeseceeneeeeeeseneceeeeseseneeeseeeeeceeeseeeeeenseseaeuentuseueueeseseueureresseeeeeseesapenes 10
50 U.S.C. § 456(J) (Supp. II 1972)
ceucenceseceuceeeateeeeetereceueeteteseseseeseseeeeeseeeeeeeseceeeeeeeaeeeeeeeeeeeeeseseseeneeseeenenseeeeeses 10
STAMHER, DEFINING RELIGION: FEDERAL AID AND ACADEMIC FREEDOM 1,
RELIGION AND PUBLIC ORDER, 116, 147 (1964)
TT rrr ry oy 11
Konvitz, The Meaning of "Religion" in the FirstAmendment: The Torcaso Case, 1963
CATHOLIC WORLD 2838, 289-90.

IS SSTET TELA RENE LE SA BESSA SN RAiNNeANORS NR ANUNUG une nerE TREN REAR R Nea Neca ER ONRINNTENERIE 11
P, TILLICH, DYNAMICS OF FAITH (1958)

penscnseseera games bh tsi TalSATSsW SiS 5 SiS SWOT STOTT SS TRICE eee eal eelaeiaeiaalelseisloinnlpinslgaibwisananawNEaRNe 12
P. TILLICH, THE SHAKING OF THE FOUNDATIONS (1972)
smaneinamenmenmameemeneameaeneneeaeasae-ee-ecrne.n wen mad ES E¥ STEW a Willie ealsletd isles il bis SES USES ED 12

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163 (1977)

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Constitutional Considerations, 17 ME.L. REV. 479 (1968)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 10 of 57

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Exercise, 51 CORNELL L.Q. 231 (1966)

(1965)

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Elimination of All Forms of Religious Intolerance, U.N. Doc. A/8330 (1971)

ee ee a EET 13
Rabin, When Is a Religious Belief Religious: United States v. Seeger and the Scope of Free
Exercise, 51 CORNELL L.Q. 231, 244 (1966)

ossemrgieseisieaseemenin e-e acess eamesimmmmesinmmeneaenemcasa STARA EETOR ANA AAS ABR IN RUAN NA SSCOCTANAICG ANSEMA PETAR TERRON 13
EDUCATION AMENDMENTS CONFERENCE REPORT, REP. No. 1701, 94th Cong., 2d
Sess. 211 (1976)

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LITTLE, PIERCE AND THE RELIGION CLAUSES: SOME REFLECTIONS IN SUMMARY,
FREEDOM AND EDUCATION: PIERCE V. SOCIETY OF SISTERS RECONSIDERED 69,
72 (D. Kommers & M. Wa-hoske eds. 1978)

Humanistic Values in the Public School Curriculum: Problems in Defining an Appropriate "Wall
of Separation," 61 Nw. U.L. REV. 795 (1966)

AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE 1173 (W. Morris
ed. 1973

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2 SHORTER OXFORD DICTIONARY ON HISTORICAL PRINCIPLES 1828 (1934)

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G. HOLYOAKE, SECULARISM, THE PRACTICAL PHILOSOPHY OF THE PEOPLE (1845)
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(1906)

G HOLVOARE, THE HISTORY OF THE LAST TRIAL BY JURY BOR ATHEISMIN
ENGLAND (M. O'Hair ed. 1972)

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Stacy Swimp, LGBT Comparison of Marriage Redefinition to Historical Black Civil Rights
Struggles is Dishonest and Manufactured (March 7, 2014)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 11 of 57

LIFE APPROPRIATION ACT

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Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 12 of 57

I. INTRODUCTION

The Court should dismiss the Plaintiffs’ eight count self-defeating complaint for lacking
subject matter jurisdiction and because the Plaintiffs’ complaint fails to state a claim upon which
relief can be granted. The evidence shows that the paramount legal basis supporting the 2020
Trump Rule, which includes the so-called unrelated statutes for purposes of this brief, is the First
Amendment Establishment Clause of the United States Constitution.' The 2020 Trump Rule is
neutral and secular and does not violate the Establishment Clause of the First Amendment,
whereas the 2016 Obama Rule is controversial and non-secular and violates the Establishment
Clause from every angle. According to the testimonies of ex-gays, ex-transvestites, medical
experts, persecuted Christians, and licensed ministers,” “sexual orientation” orthodoxy and
“gender identity” ideology are doctrines, dogmas, mythologies that are inseparably linked to the
religion of Secular Humanism.’ The 2016 Obama Rule was supremely unconstitutional in its
making and enforcement because it failed all three prongs of the Lemon Test and, therefore,
violated the Establishment Clause of the First Amendment by (1) constituting a non-secular

sham that lacked a primary secular purpose, by (2) cultivating an indefensible legal weapon

 

1 “The [2020] Trump] Rule eliminates the prohibitions on gender identity and sexual orientation
discrimination in these regulations [85 Fed. Reg. at 37, 219-21, 37,247-48 (to be codified at 45
C.F.R. §§ 147.104(e), 155.120(c)(1) (ii), 155.220(j)(2)(i), 156.200(e), & 156.1230(b)(2) 42
C.F.R. §§ 438.3(d)(4), 438.206 (c)(2), and 440.262, 42 C.F.R. § 438.3(d)(4), 42 C.F.R. §
460.98(b)(3)]” all for the same reason - the Establishment Clause of the First Amendment
requires that sexual orientation and gender identity be removed because their inclusion shows
respect, endorsement, and favoritism towards the LGBTQ Secular Humanist religion.

? Decl. Alliance of Black and White Ex-Gays and Ex-Trans. J 7; Decl. Pastor Penkoski J 1-34;
Decl. Lisa Boucher Jf 1-10; Decl. Christian Resistance {J 1-21; Decl. Dr. Cretella J] 1-20; Decl.
Dr. King {{ 1-20.

3 Secular Humanism is also commonly referred to postmodern western individualistic moral
relativism, expressive individualism, or the religion of wokeness.
https://podcasts.apple.com/us/podcast/ep-1024-the-religion-of-wokeness/id10473352607i=10004
76823217
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 13 of 57

against non-observers of the religion of Secular Humanism, and by (3) serving to excessively
entangle the government with the religion of Secular Humanism, as advocated by the LGBTQ
cult. * The 2016 Obama Rule cannot be reinstated because it fails all three prongs of Lemon,
whereas the 2020 Trump Rule aligns with what the Establishment Clause requires.

Il. THE 2016 OBAMA RULE VIOLATED THE ESTABLISHMENT CLAUSE OF THE
FIRST AMENDMENT WHEREAS THE TRUMP 2020 RULE DOES NOT

“The Establishment Clause of the First Amendment to the United States Constitution
declares: “[The Government] shall make no law respecting an establishment of religion.” U.S.
Const. amend. I.” (DE # 1 7 293). “The Establishment Clause prohibits the government from
favoring one religion over another, or religion over non-religion.” Id.° One of the paramount
duties of this Honorable Court is to determine the trajectory of the First Amendment. Justice
Scalia repeatedly said that the most under-developed area of the law is Establishment Clause

jurisprudence, and this Amici brief will help cure that. Preliminarily, it is important for Amici to

 

4‘ The Plaintiffs contend that the language of the 2020 Trump Rule should revert back to the
language of the 2016 Obama Rule by relying on the recent decision in Bostock v. Clayton Cty.,
Ga., 590 U.S. __, 2020 WL 3146686 (2020). (DE # 1 J 96). The Plaintiffs accuse the
Defendants of lacking an adequate legal basis for modifying the rule, alleging that the
Defendants adjusted the Rule based on a single district court ruling out of Texas. (DE # 1 13).
The legal basis that commands that the 2020 Trump Rule replace the 2016 Obama Rule is the
First Amendment Establishment Clause because the language of 2016 Obama Rule, which
included the doctrines of sexual orientation and gender identity, caused the Rule to violate the
Establishment Clause by putting the religion of Secular Humanism over non-religion. The 2016
Obama Rule was non-secular and controversial, whereas the 2020 Trump Rule is secular and
neutral. The Establishment Clause requires that the Government view men as men and women
are women. The Free Exercise Clause allows the Plaintiffs to pretend that they are not.

5 HHS is part of the executive branch and the Establishment Clause applies just as equally to
Executive Branch expenditures as it does to legislative exercises of the Taxing and Spending
Power, to permit Executive Branch use of appropriated funds to accomplish an unconstitutional
end would mean that “Establishment Clause protection would melt away.” (Souter, J.,
dissenting). Hein v. Freedom From Religion Foundation , 551 U.S. 587, 640 (2007) (Souter, J.,
dissenting).
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 14 of 57

establish that (1) Secular Humanism is a religion for the purposes of the First Amendment
Establishment Clause, that (2) the LGBTQ cult is a non-secular religious organization that is
inseparably linked to the religion of Secular Humanism, and that (3) “gender identity” ideology
and “sexual orientation” orthodoxy are doctrines that flow directly out of the religion of Secular
Humanism in a manner that is barred from government’s respect, endorsement, favoritism, and
recognition under the Establishment Cause for the very reasons set forth in the Plaintiffs’
self-defeating complaint. (See DE # 1 JJ 291 -302).

Yet, the first question to answer is what is religion? According to religious experts, all
religion amounts to is a set of unproven answers to the greater questions like why are we here,
what gives us identity, what should we be doing as humans, and what happens after death.© The
evidence shows that the Establishment Clause of the First Amendment was not merely designed
to stop the government from recognizing the edicts of institutionalized religions, but it was also
designed - if not more so - to prohibit the government from respecting the doctrines of
non-institutionalized religions, like LGBTQ Secular Humanism. Id.’ The Amici’s did not come
up with the idea that Secular Humanism is a religion for the purposes of the First Amendment

Establishment Clause. The Supreme Court and just about all of the Courts of appeals did.? The

 

§ (Decl. Coalition of Multi-Racial Pastors J 2)

’ The fact of the matter is that it takes a huge amount of religious faith to believe that mankind is
just a bundle of accidental particles, animated pieces of meat, or a bundle of chemicals or that
there is no design or higher law at work. Countless religious experts have acknowledged that
“irreligion” is “religion,” that a “critic of religion” is “a new religion.”

® The United States Supreme Court already found that Secular Humanism is a religion for the
purposes of the First Amendment Establishment Clause in Torcaso v. Watkins, 367 U.S. 488, n.
11 (1961), stating “among religions in this country which do not teach what would generally be
considered a belief in the existence of God are Buddhism, Taoism, Ethical Culture, Secular
Humanism, and others. See Washington Ethical Society v. District of Columbia, 249 F.2d 127,
101 U.S. App. D.C. 371 (D.C. Cir 1957); Fellowship of Humanity v. County of Alameda, 153
Cal. App.2d 673, 315 P.2d 394 (1957); II Encyclopaedia of the Social Sciences 293; 4
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 15 of 57

Amici begin their analysis on the procedural history of Secular Humanism being recognized as a
religion by the Courts.

A. LEGAL PROCEDURAL HISTORY CONCERNING SECULAR HUMANISM

1. _From 1776 to 1940s Religion Involved Theism

The Supreme Court did not undertake an extended interpretive examination of the
religion clauses of the First Amendment until the 1870's. Prior to that time "religion" was
assumed to be theism. However, the heated controversy concerning the Mormon Church forced
the Supreme Court to define "religion" in Reynolds v. United States, 98 U.S. 145 (1878).
Congress passed a law making bigamy a criminal offense in any territory under the jurisdiction
of the federal government. Reynolds, 18. 98 U.S.at 146. The legislation was clearly aimed at the
Mormon practice of polygamy, which conflicted with Christian theism's tenet of monogamy. See
R. MORGAN, THE SUPREME COURT AND RELIGION 40-44 (1972). George Reynolds, a
Mormon, was indicted and convicted of bigamy. Jd. at 146. Mr. Reynolds claimed the right to
practice polygamy, a tenet of faith in his religion, as a guarantee of the First Amendment Free
Exercise Clause. Id. at 161-62. The Supreme Court replied that:

Laws are made for the government of actions, and while they cannot interfere with mere

religious belief and opinions, they may with practices. Suppose one believed that human

sacrifices were a necessary part of religious worship, would it be seriously contended that
the civil government under which he lived could not interfere to prevent a sacrifice. .. .

 

Encyclopaedia Britannica (1957 ed.) 325-327; 21 id., at 797; Archer, Faiths Men Live By (2d ed.
revised by Purinton), 120-138, 254-313; 1961 World Almanac 695, 712; Year Book of American
Churches for 1961, at 29, 47.” Most of the Federal Court of appeals have also already found that
Secular Humanism is a religion for the purpose of the First Amendment Establishment Clause in
cases such as Malnak v. Yogi, 592 F.2d 197, 200-15 (3d Cir.1979); Theriault v. Silber, 547 F.2d
1279, 1281 (Sth Cir. 1977); Thomas v. Review Bd., 450 U.S. 707, 714, 101 S.Ct. 1425, 67
L.Ed.2d 624 (1981); Lindell v. McCallum, 352 F.3d 1107, 1110 (7th Cir. 2003); Real
Alternatives, Inc. v. Se'y Dep 't of Health & Human Ser, 150 F. Supp. 3d 419, 2017 WL3324690
(3d Cir. Aug. 4, 2017); and Wells v. City and County of Denver, 257 F.3d 1132, 1148 (10th Cir.
2001). (See also the Decl. of Multi-Racial Pastors [J 2-3)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 16 of 57

So here, as a law of the organization of a society under the exclusive dominion of the
United States, it is provided that plural marriages shall not be allowed. Can a man excuse
his practices to the contrary because of his religious belief? To permit this would be to
make the professed doctrines of religious belief superior to the law of the land, and in
effect to permit every citizen to become a law unto himself. Government could exist only

in name under such circumstances. Reynolds , 98 U.S. at 166-167.

The Supreme Court upheld the Act's constitutionality and established some general theistic
guidelines by which the religious clauses would be interpreted. Jd. at 166. Reynolds laid the seed
for the belief-action dichotomy which persists today within the Free Exercise Clause. Reynolds
was the first decision in which the Supreme Court restricted religious freedom to "mere belief
and opinions," by declaring that "[C]ongress was deprived of all legislative power over mere
opinion, but was left free to reach actions which were in violation of social duties or subversive
of good order.....” The Supreme Court in Reynolds presupposed that the United States was a
Christian nation that supported traditional theistic tenets.

The Reynolds rationale has great First Amendment implications when it is realized that
the traditional theistic religious practices that the Reynolds court presupposed were entitled to
First Amendment protection have now judicially been reduced to "mere opinion" or “belief,”
which has implications for both the Free Exercise Clause and the Establishment Clause. Yet,
Reynolds also signaled that traditional theism, and, in particular, Christianity, has lost its
historically-preferred position.

The Mormon cases following Reynolds represent no substantial departure or addition to
the reasoning of Reynolds. Eleven years after Reynolds the Supreme Court, in Davis v. Beason,
133 U.S. 333 (1890) elaborated significantly upon the religion clauses. The Supreme Court held

that the Mormon appellant's "opinions" concerning polygamy were not religious tenets, and that

not only the practice, but also the teaching or counseling of polygamy constituted criminal
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 17 of 57

actions. The importance of Davis lies in the Supreme Court's definition of the term "religion"
and its reaffirmation of traditional Christian theism. The Supreme Court held:

The term 'religion' has reference to one's views of his relations to his Creator, and to the

obligations they impose for reverence for his being and character, and of obedience to his

will. It is often confused with the cultus or form of worship of a particular sect, but it is
distinguishable from the latter. . . . It was never intended or supposed that the [first]
amendment could be invoked as a protection against the legislation for the punishment of
acts inimical to the peace, good order and morals of society. . .. However free the
exercise of religion may be, it must be subordinate to the criminal laws of the country
passed with reference to actions regarded by general consent as properly the subjects of
punitive legislation. .. . Probably never in the history of this country has it been seriously
contended that the whole punitive power of the government for acts, recognized by the
general consent of the Christian world in modern times as proper matters for prohibitory
legislation, must be suspended in order that the tenets of a religious sect encouraging

crime may be carried out without hinderance. Davis, 133 U.S. at 342 - 343.

Again the Supreme Court was equating "religion" with theism, and drawing from theism its
absolute monogamy standard. Davis provides a very appropriate example of the predominant
judicial image of religion which stressed traditional elements like theologies, sacraments, and
above all, worship of a deity.’

Referring to Davis, Harvard law professor, Lawrence Tribe stated that "at least through
the nine-teenth century, religion was given a fairly narrow reading . . . 'religion' referred to
theistic notions respecting divinity, morality, and worship..." L. TRIBE, AMERICAN
CONSTITUTIONAL LAW 826 (1978). Religion, as defined in Davis, involves a belief in a
"Creator," which, the Supreme Court held, imposes certain obligations upon each individual to
obey the will of the "Creator," or Supreme Being. This definition of religion mirrors that

understood by James Madison, and those within the historical milieu that drafted the First

Amendment,” and is, therefore, both historically and constitutionally accurate. Moreover, the

 

® See Constitutional Definition of Religion, 91 HARV. L. Rav. 1056, supra note 1060 (1978).
10 See note 31 supra and accompanying text.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 18 of 57

Supreme Court's definition corresponds with American religious heritage and was applicable to a
society overwhelmingly dominated by theistic Christianity. This non-sectarian definition, applied
to a Judeo-Christian society, is clearly compatible with the First Amendment religion clauses."

To summarize, the Supreme Court in Reynolds and Davis basically established three
things (1) religion involves a deity, (2) citizens can believe whatever they want, and (3) the
legislature can pass laws based on Christian morality, prohibiting any pagan religious practice
that is self-evidently barbaric and in opposition to Christian morality, but the government cannot
mandate belief in Christianity. The Supreme Court was essentially acknowledging the fact that
without faith, there is no basis for morality and without morality, there is no basis for law,
asserting that America is unofficially a Christian Nation without requiring a belief in the merits
of Christian doctrine.

2. From The 1940s Forward - Religion Includes Theism and Non-theism

Beginning in the 1940's, traditional theistic religion came under increasing attack. The
federal courts began to broaden and diversify the definition of "religion," until by the end of the
1960's the judicial definition of religion was altered from sustenance of belief-belief in and
obligation owed to the "Creator" to the impact of the belief on the life of the person expressing
and holding it. The judicial transformation of "religion" corresponds to the change that was
taking place in a previously theistic society. Society's basis of truth was shifting from traditional
theism's emphasis on God-centeredness to Secular Humanism's emphasis on man-centeredness,
with the result being that the finite man of society ignores the absolutes revealed by God and

instead relies upon the rationalization of his own mind.

 

11 Following the Davis, the Supreme Court rendered a decision in United States v. Macintosh,
283 U.S. 605 (1931) that served to reinforce Davis.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 19 of 57

The signaled departure from theistic religion came in United States v. Kauten, 133 F.2d
703 (2d Cir. 1943). 1? Kauten sought exemption from military service as a conscientious
objector. He argued that as a matter of "religious conscience" he could not take up arms to
defend the United States but admitted that his position was not based upon a "belief in Deity.""°

The Second Circuit accepted Kauten's assertion that his belief was a "religion" by stating
that:

Religious belief arises from a sense of the inadequacy of reason as a means of relating the
individual to his fellow men and to his universe a sense common to men in the most
primitive and the most highly civilized societies....It is a belief finding expression in a
conscience which categorically requires the believer to disregard elementary self-interest
and to accept martyrdom in preference to transgressing its tenets....[Conscientious
objection] may justly be regarded as a response of the individual to an inward mentor,
call it conscience or God, that is for many persons at the present time the equivalent of
what has always been thought a religious impulse."*

 

2 United States v. Kauten, 133 F.2d 703, 708 (2d Cir. 1943). Interpreting the same statute, the
Ninth Circuit in Berman v. United States, 156 F.2d 377 (9th Cir. 1946), cert. denied, 329 U.S.
795 (1946), again restated the traditional definition of religion. The court held that "religious
training and belief" is something apart from conscience or "high moralistic philosophy." 156
F.2d at 380. In his dissent, Judge Denman argued for the more expansive concept of religion. He
said: [Many of the great religious faiths with hundreds of millions of followers have no God.... It
is wrong to say that 'a sincere devotion to a moralistic philosophy’ is inconsistent with 'a belief in
his responsibility to an authority higher and beyond any earthly one,’ if that supernatural
authority is confined to a belief in a particular god. This would exclude all Taoist China and in
the Western world all believers in Comte's religion of humanism in which humanity is exalted
into the throne occupied by a supreme being in monotheistic religions. Id. at 384. A similar
result as that of Berman was had in George v. United States, 196 F.2d 445 (9th Cir. 1952).

13 Td.at 705, 707. The Kauten court was interpreting the Selective Training and Service Act, 50
U.S.C. § 456(J)(Supp. 11 1972). See generally P. JACOB, THE CONSCRIPTION OF
CONSCIENCE: THE AMERICAN STATE AND THE CONSCIENTIOUS OBJECTOR,
1940-47 (1952).

14 United States v. Kauten, 133 F.2d 703, 708 (2d Cir. 1943). Interpreting the same statute, the
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said

“TMany of the great religious faiths with hundreds of millions of followers have no God .... It is
wrong to say that 'a sincere devotion to a moralistic philosophy’ is inconsistent with 'a belief in
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 20 of 57

The Kauten decision represents an intense and dramatic shift in emphasis. Whereas Davis saw
religion as relating man to God, Kauten examined the relationship of man to the broad universe
and to other men. Where most courts had considered the external attributes of a denomination,
its dogma, doctrines, and creeds, the Second Circuit focused on the psychological function of the
belief in the life of the individual.'*

Although Kauten concerned the interpretation of the Selective Service Act of 1940,
beginning with United States v. Ballard, 322 U.S. 78 (1944), the courts began to shift their
inquiry and analysis of "religion." In Ballard, the Supreme Court held that the truth or verity of
a person's religious doctrines or beliefs could not be considered by a judge or jury without
running afoul of the First Amendment. Ballard, 322 U.S.at 86. The Supreme Court concluded
that only the particular adherent's sincerity of belief may be examined:

[Freedom of religion] embraces the right to maintain theories of life and of death and of

the hereafter which are rank heresy to followers of the orthodox faiths. ... Men may

believe what they can't prove. They may not be put to the proof of their religious
doctrines or beliefs. Religious experiences which are real as life to some may be

incomprehensible to others. Ballard at 87-88.

In Ballard the Supreme Court made it clear that the classification of a "belief" as religion does
not depend upon the tenets of the creed, but rather upon the sincerity of the belief.

"Consequently, the characterization of a belief as religious would seem to be beyond the

competence of anyone other than the adherent."!© Thus, the Supreme Court has adopted a

 

his responsibility to an authority higher and beyond any earthly one,' if that supernatural
authority is confined to a belief in a particular god. This would exclude all Taoist China and in
the Western world all believers in Comte's religion of humanism in which humanity is exalted
into the throne occupied by a supreme being in monotheistic religions.” Id. at 384. A similar
result as that of Berman was had in George v. United States, 196 F.2d 445 (9th Cir. 1952).

15 See Constitutional Definition, supra note 12, at 1061.

‘6 See Constitutional Definition, supra note 12, at 1063.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 21 of 57

10

concept of religion which is tantamount to Secular Humanism's position of the centrality of man,
because the basis of both is the deification of man's reason.'”

The conceptual framework of religion as "belief" was enhanced by the Supreme Court's
1961 decision of Torcaso v. Watkins, 367 U.S. 488 (1961). In Torcaso, a unanimous Supreme
Court held that it was unconstitutional for Maryland to require a declaration of belief in God as a
condition to becoming a notary public because it placed the state "on the side of one particular
sort of believers.”’® The Supreme Court held that this provision of the Maryland constitution
invaded Torcaso's "freedom of belief and religion" because the Establishment Clause prevents
the government from forcing a person to profess a belief or disbelief in any religion, aid any
religion, oppose non-believers, or aid theistic’ faiths’? against non-theistic faiths. °° The Supreme

Court's continual dilution and dichotomization of "religion," represents the stark turnabout that

 

'7Tn Zorach v. Clauson, 343 U.S. 306 (1952), the Court upheld off-campus release-time
programs in public schools. The Court stated that "we are a religious people whose institutions
presuppose a Supreme Being." Id. at 313. See also Toms and Whitehead, The Religious Student
in Public Education: Resolving a Constitutional Dilemma, 27 EMORY L.J. 3 (1978). Several
decisions were rendered in the mid-1950's which involved humanist organizations seeking tax
exemption as religious institutions. Washington Ethical Society v. District of Columbia, 249 F.2d
127 (D.C. Cir. 1957); Fellowship of Humanity v. County of Alameda, 153 Cal. App. 2d 673, 315
P.2d 394 (1957). The courts avoided the constitutional question by construing the applicable
statutes to include non-theistic groups and interpreting "religion broadly in terms of the social
function of the group rather than the context of its beliefs." Id. at 406. See also Galanter,
Religious Freedom in the United States: A Turning Point?, 1966 Wis. L. REv. 217 (1966).

18 Td. at 490. Article 37 of the Declaration of Rights of the Maryland Constitution reads: "[N]o
religious test ought ever be required as a qualification for any office of profit or trust in this
State, other than a declaration of belief in the existence of God.... MARYLAND
CONSTITUTION, art. 37.

19 The Court considered theistic faiths as "those religions based on a belief in the existence of
God." Torcaso v. Watkins, 367 U.S. 488, 495 (1961).

20 Td. at 495-96. The opinion did not reveal whether or not Torcaso had any beliefs or religion.
One commentator has stated, however, that Torcaso was a "Secular Humanist." Blanshard, Three
Cheers for Our Secular State, HUMANIST, Mar./Apr. 1976, at 17, 22.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 22 of 57

11

has occurred since the Davis decision.”' In the Supreme Court's view, the humanistic belief of
deifying the individual and the rationalization of Man's mind qualifies as a religion. The
"Creator" spoken of in Davis has taken on new rivals, which in the eyes of the judiciary are his
equal. The Torcaso court was specific in the beliefs it identified as religious:

Among religions in this country which do not teach what would generally be considered a

belief in the existence of God are Buddism, Taoism, Ethical Culture, Secular Humanism

and others.”
Torcaso was the first Supreme Court decision to identify and accept "Secular Humanism" as a
“religion.” Although the Supreme Court did not define "Secular Humanism," it is clear that
Secular Humanism is a religious belief system subject to First Amendment protection and
prohibition. In 1965 the Supreme Court entered a final stage in defining religious belief, wherein
"religion" and "conscience" are merged. In United States v. Seeger, 380 U.S. 163 (1965), the
Supreme Court upheld the conscientious objector status of three men, despite the fact that their
religious beliefs did not conform to the concept of religion as defined in section 6()) of the
Universal Military Training and Service Act of 1948. Patently, the Act only granted exemptions
to objectors whose religion was directly related to their belief in a Supreme Being. 50 U.S.C. §
456(J) (Supp. II 1972). The Supreme Court examined the legislative history of the Act and
concluded that Congress had intentionally provided a broad definition of "religion." The
Supreme Court reasoned that Congress’ utilization of the term "Supreme Being," rather than the

term "God," indicated their intent to broaden the meaning of the word "religion.""”

 

21 STAMHER, DEFINING RELIGION: FEDERAL AID AND ACADEMIC FREEDOM 1,
RELIGION AND PUBLIC ORDER, 116, 147 (1964); Konvitz, The Meaning of "Religion" in
the FirstAmendment: The Torcaso Case, 1963 CATHOLIC WORLD 288, 289-90.

22 United States v. Seeger, 380 US 163, 495 n.11 (1965)

23 Seeger, 380 U.S. 163 at 175.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 23 of 57

12

The Supreme Court attempted to define "Supreme Being" by consulting several
progressive theologians,” most notably, Paul Tillich. Tillich's view is that the essence of

"25

religion is "ultimate concern," and therefore, religion is itself "ultimate concern." Further,

Tillich postulates that the term "God" does not define religion, but it is "ultimate concern."”®
Tillich's thesis is that "the concern of any individual can be ranked, and that if we probe deeply
enough, we will discover the underlying concern which gives meaning and orientation to a
person's whole life.""”’ Under the belief as ultimate concern as religion theory proffered by
Tillich, everybody has a religion. Obviously, Tillich's theory minimizes the importance of a
belief in Yahweh (YHWH), the God of the Bible. With dependence upon Tillich and the
progressive theologians, the Supreme Court determined that a belief is valid if it is "sincere and
meaningful [and it] occupies a place in the life of its possessor parallel to that filled by the
orthodox belief in God of one who clearly qualifies for the exemption. Where such beliefs have

parallel positions in the lives of their respective holders we cannot say that one is 'in relation to a

Supreme Being’ and the other is not.” Seeger, 380 U.S. at 166. Therefore, a "belief” is

 

4 Those authorities consulted included; Paul Tillich, John A. T. Robinson, Bishop of Woolwich,
the Scheme of the Ecumenical Council, Vatican II, and Dr. David Saville Muzzey of the Ethical
Culture. Id. at 163, 180-83. (Decl. Coalition of Multi-Racial Pastors J 2).

25 P, TILLICH, DYNAMICS OF FAITH 1-2 (1958) (hereinafter referred to as TILLICH).
(Decl. Coalition of Multi-Racial Pastors J 2).

6 Tillich states: The name of this infinite and inexhaustible depth and ground of all being is God.
That depth is what God means. And if that word has not much meaning for you, translate it, and
speak of the depth of your life, of the source of your being, of your ultimate concern, of what you
take seriously without any reservation. Perhaps, in order to do so, you must forget everything
traditional that you have learned about God, perhaps even the word itself. For if you know that
God means depth, you known much about him. You cannot then call yourself an atheist or
unbeliever. For you cannot think or say: Life has no depth! Life is shallow. Being itself is surface
only. If you could say this in complete seriousness, you would be an atheist; but otherwise you
are not. He who knows about depth knows about God. P. TILLICH, THE SHAKING OF THE
FOUNDATIONS 63-64 (1972). (Decl. Coalition of Multi-Racial Pastors J 2).

27 See Constitutional Definition,supra note 12, at 1066.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 24 of 57
13

constitutionally protected if it is in a "parallel position" to that of a belief in the traditional
theistic concept of God.”* (Decl. Coalition of Multi-Racial Pastors § 2)

The Seeger decision defined religion as all sincere beliefs "based upon a power or being,
or upon a faith, to which all else is subordinate or upon which all else is ultimately dependent.”
Thus, according to Seeger, "religion" includes atheists and agnostics, as well as adherents to
traditional theism.*° The logical conclusion from the Seeger decision is that "[a]bsolute vertical
disbelief in the traditional sense - disbelief in God - is irrelevant" *' to First Amendment
considerations. In other words, belief or disbelief in the traditional theistic view of God
(Creator) is no longer relevant. The conclusion is that a "belief" is a constitutionally protectable

religion only if it parallels a belief in traditional theism and does not rest "solely" upon practical

 

28 Id. See generally Bowser, Delimiting Religion in the Constitution:A Classification Problem,
11 VAL. U.L. REV. 163 (1977); Boyan, Defining Religion in Operational and Institutional
Terms, 116 U. PA. L. REv. 479 (1968); Clancy and Weiss, The Conscientious Objector
Exemption: Problems in Conceptual Clarity and Constitutional Considerations, 17 ME.L. REV.
479 (1968); Clark, Guidelines for the Free Exercise Clause, 83 HARV. L. REV. 327 (1969);
Killilea, Standards for Expanding Freedom of Conscience, 34 U. Prrr. L. REv. 531 (1973);
Rabin, When is a Religious Belief Religious: United States v. Seeger and the Scope of Free
Exercise, 51 CORNELL L.Q. 231 (1966); Comment, Defining Religion: Of God, the
Constitution and the D.A.R., 32 U. CHI. L. REv. 533 (1965). (Decl. Coalition of Multi-Racial
Pastors § 2)

29 Seeger at 176. In Welsh v. United States, 398 U.S. 333 (1970), the Supreme Court extended the
Seeger rationale and held "that purely ethical and moral considerations were religious." The
Supreme Court further blurred the distinction between religion and morality by holding that a
sincere person may be denied an exemption only if his belief or belief system does "not rest upon
and invade ethical or religious principles, but instead rests solely upon considerations of policy,
pragmatism or expediency." Jd. at 342-43.

39Comments one writer: The Supreme Court's expansive approach parallels evolving notions of
religious toleration developing in the international community. For example, the United Nations
Commission on Human Rights has defined "religion or belief" as including "theistic,
non-theistic, and atheistic beliefs." Elimination of All Forms of Religious Intolerance, U.N. Doc.
A/8330 (1971) (draft convention). See Constitutional Definition, supra note 12, at 1065 n.59.

31 Rabin, When Is a Religious Belief Religious: United States v. Seeger and the Scope of Free
Exercise, 51 CORNELL L.Q. 231, 244 (1966) (hereinafter referred to as Rabin).
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 25 of 57
14

or expedient policies. The definition of religion as belief is a radical departure from the historical
definition of religion as used in traditional theism. Furthermore, the judicial definition of
religion as belief is a sharp break with the early Supreme Court cases that defined religion as
Man's relationship to his Creator.” From a preferred position within the religion clauses,
traditional theism has been relegated to the level of all other belief systems. (Decl. Coalition of
Multi-Racial Pastors { 2).
B. THE ESTABLISHMENT CLAUSE AS IT RELATES TO SECULAR HUMANISM
In 1878 the Supreme Court in Reynolds v. United States, 98 U.S. 145 (1878) framed the
Free Exercise clause in terms of a belief-action dichotomy and held that religious beliefs and
opinions are absolute and protected, whereas religious action is not. Justice Rutledge, dissenting
in Everson v. Board of Education, 330 U.S. 1 (1947) of the Township of Ewing stated:
"Religion" appears only once in the [First] Amendment. But the word governs two
prohibitions and governs them alike. It does not have two meanings, one narrow to forbid
"an establishment" and an other, much broader, for securing "the free exercise thereof."*
It follows then that what the Free Exercise Clause protects, the Establishment Clause prohibits
when such establishment is government-sponsored. Therefore, in considering belief-as-religion,
if the government in any way sponsors, finances or becomes actively involved in the promotion
of a religion, a "sincere belief" of "ultimate concern," then such state action violates the

Establishment Clause. Secular Humanism, being no less a religion than theism, is equally

susceptible to the Establishment Clause, and its expression, in any form, is clearly

 

32 Davis, 133 U.S. 333 at 341.

33 Id. at 32. "At the time the first amendment was adopted, the establishment and free exercise
clauses were probably compatible, even complementary." Constitutional Definition, supra note
12, at 1083. Professor Tribe states that to "the Framers, the religion clauses were at least
compatible and at best mutually supportive." L. TRIBE, supra note 87, at 814.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 26 of 57
15

unconstitutional. As Justice Clark stated in School District of A Bington Township, Pa. v.
Schempp, 374 U.S. 203, 225 (1963):
[T]he State may not establish a "religion of secularism" in the sense of affirmatively
opposing or showing hostility to religion, thus "preferring those who believe in no
religion over those who do believe."**
The prohibition against the State establishing a "religion of secularism" was strengthened in
Torcaso v. Watkins, 367 U.S. at 495 n.11 in which the Supreme Court recognized that the First
Amendment grants the same protection and imposes the same limitations on the religion of
Secular Humanism as are applicable to theism. Therefore, it logically follows that the
government is prohibited from establishing non-theistic or secular ideologies under the same
authority as it is prohibited from establishing theistic practices.

Historically speaking, the First Amendment implications of the broad view of

belief-as-religion applied in the public education system have been far-reaching.** Not only is the

 

34 Tn seeming accord with the Supreme Court's mandate against the establishment of the "religion
of secularism" in the context of public education, an amendment was appended to the Higher
Education Amendments of 1976 which stated: “No grant, contract, or support is authorized under
the foreign studies and language development portions of Title II of the bill [amendment to the
National Defense Education Act] for any educational program, curriculum research and
development, administrator-teacher orientation, or any project involving one or more students or
teacher-administrators involving any aspect of the religion of secular humanism.” 122
CONGRESSIONAL RECORD H 4,317-19 (daily ed. May 12, 1976). The amendment, offered
by former Representative John B. Conlan (R-Arizona), passed the House by a roll-call vote of
222 ayes, 174 notes. Jd. at 4318. A similar provision was not included in the Senate version of
the Higher Education Amendments of 1976, and House-Senate conferees on the legislation later
dropped the amendment from the final version of the act signed by the President. See
EDUCATION AMENDMENTS CONFERENCE REPORT, REP. No. 1701, 94th Cong., 2d
Sess. 211 (1976). The humanists' reaction to the Conlan amendment was both vehement and
emotionally tinged. See, e.g., The Evangelical Right: The Attack on Secular Humanism,
HUMANIST, Sept./Oct. 1976.

36 LITTLE, PIERCE AND THE RELIGION CLAUSES: SOME REFLECTIONS IN
SUMMARY, FREEDOM AND EDUCATION: PIERCE V. SOCIETY OF SISTERS
RECONSIDERED 69, 72 (D. Kommers & M. Wa-hoske eds. 1978). See generally, Comment,
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 27 of 57
16

government forbidden to establish a religion in the public school system, but the government is
also prohibited from establishing religion through any of its governmental organs. This would
include the court systems, legislative bodies, and executive agencies.

In the instant case, the Plaintiffs want the 2016 Obama Rule in place because they want
the Government to establish "religion without God’”* over non-religion, knowing that “sexual
orientation” and “gender identity” are religious constructs that flow directly out of Secular
Humanism.>” The Supreme Court has recognized this "religion without God,” like the one
promoted by the LGBTQ cult, as the "religion of secularism." See Schempp, 374 U.S. 203 at
225. The Supreme Court, however, has mandated government’s religious "neutrality."** The
government’s neutrality supposedly means that the government is to prefer no religion or
religious group over and above another religion or group. Torcaso at 495. This means that the
2020 Trump Rule is constitutionally sound because it is neutral towards religion, whereas the
2016 Obama Rule is unconstitutional because it lacks religious neutrality.

C. SECULAR HUMANISM - A DEFINITION

The word "secular" by definition refers to "the temporal rather than the spiritual."*°

"Secularism" is a doctrinal belief that morality is based solely in regard to the temporal

well-being of mankind to the exclusion of all belief in God, a supreme being, or a future eternity.

 

Humanistic Values in the Public School Curriculum: Problems in Defining an Appropriate "Wall
of Separation," 61 Nw. U.L. REV. 795 (1966).

36 KOLENDA, RELIGION WITHOUT GOD (1976).

7 Decl. Alliance of Black and White Ex-Gays and Ex-Trans. 7; Decl. Dr. Cretella [J 1-20;
Decl. Dr. King Jf 1-20

38 See, e.g., Schempp at 222, (wherein the Court speaks of a "wholesome 'neutrality."" Everson,
330 USS. at 18.

39 AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE 1173 (W. Morris
ed. 1973) (Decl. Coalition of Multi-Racial Pastors { 3).
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 28 of 57
17

40 "Humanism" is a philosophy or attitude that is concerned with human beings, their
achievement and interests, and the condition or quality of being human, rather than with the
abstract beings and problems of theology.*! "Secularism" is nontheistic and "humanism" is
secular because it excludes the basic tenets of theism. Therefore, Secular Humanism is
nontheistic. However, while Secular Humanism is nontheistic, it is religious because it directs

itself toward religious beliefs and practices that are in active opposition to traditional theism.”

 

40 2 SHORTER OXFORD DICTIONARY ON HISTORICAL PRINCIPLES 1828 (1934).
Secularism has been defined as "The view that consideration of the present well going of
mankind should predominate over religious considerations in civil affairs or public education."
Id. (Decl. Coalition of Multi-Racial Pastors J 3).

41Jd. at 640 (definition of Humanism). One of the earliest writers discussing secularism was
George Holyoake. It was in 1845 that he defined "secularism" as the doctrine that morality
should be based solely in regard to the well-being of mankind in the present life, to the exclusion
of all considerations drawn from belief in God or in a future existence beyond death. See
generally G. HOLYOAKE, SECULARISM, THE PRACTICAL PHILOSOPHY OF THE
PEOPLE (1845). Moreover, Holyoake envisioned secularism as being "independent of theistical
or other doctrine" rather than as atheistic or anti-theological in attempts to avoid being
characterized himself as an atheist. GHOLYOAKE, LIFE OF HOLYOAKE SIXTY YEARS
OF AN AGITATOR'S LIFE 293-94 (1906). Holyoake attempted to illustrate such independence
with his "house" analogy: [A] man could judge a house as to its suitability of situation, structure,
sutround- ings, and general desirableness, without ever knowing who was the architect or
landlord; and if as occupant, he received no application for rent, he ought in gratitude to keep the
place in good repair. So it is with this world. It is our dwelling place. We know the laws of
sanitation, economy, and equity, upon which health, wealth, and security depend. All these
things are quite independent of any knowledge of the origin of the universe or the owner of it.
And as no demands are made upon us in consideration of our tenancy, the least we can do is to
improve the estate as our acknowledgement of the advantage we enjoy. This is Secularism.

Id. at 294. Cf. G. HOLYOAKE, THE HISTORY OF THE LAST TRIAL BY JURY FOR
ATHEISM IN ENGLAND (M. O'Hair ed. 1972). Holyoake's view, of course, is contrary to
traditional biblical theism. E.g., F. SCHAEFFER, THE GOD WHO IS THERE (1968).

42H. BROWN, THE RECONSTRUCTION OF THE REPUBLIC 19 (1977). J. SIRE, THE
UNIVERSE NEXT DOOR 29 (1976) (hereinafter referred to as SIRE). Sire comments: We can
summarize this conception of man in God's image by saying that, like God, man has personality,
self-transcendence, intelligence (the capacity for reason and knowledge), morality (the capacity
for recognizing and understanding good and evil), gregariousness or social capacity (man's
characteristic and fundamental desire and need for human companionship-community especially
represented by the 'male' and 'female' aspect) and creativity (the ability to imagine new things or
to endow old things with human significance). (Decl. Coalition of Multi-Racial Pastors {| 5)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 29 of 57
18

Humanism is a doctrine centered solely on human interests or values. Therefore, humanism
defies Man collectively and individually, whereas theism worships God. Moreover, while
humanism draws its values and absolutes from the finite reasoning of relativistic Man, theism
has received its values and absolutes through the revelation of the infinite Deity or Creator. Both
humanism and theism worship their own "god." The difference is the object of worship not the
act. Therefore, Secular Humanism is a religion whose doctrine worships Man as the source of all
knowledge and truth, whereas theism worships God as the source of all knowledge and truth.

D. THE EVIDENCE SHOWS THAT THE LGBTQ CULT IS A
DENOMINATIONAL SECT THAT IS INSEPARABLY LINKED TO THE RELIGION
OF SECULAR HUMANISM.

The evidence shows that LGBTQ cult is a denominational sect of the religion of Secular
Humanism. The LGBTQ cult, which the Plaintiffs are part of, meets the legal definition of a
religion because it is a closed system that is “organized, full, and provide a comprehensive code
by which individuals may guide their daily activities.” “ LGBTQ cult’s creed and speech codes,
which include sexual orientation, gender identity, other doctrines, represent “ultimate concern,”
“sincere belief,” and a “non-theistic belief system” in a manner that undeniably makes it a
denominational sect of the religion of Secular Humanism. Jd Humanist Manifestos I and II

spells out that Secular Humanism will be expressed in “widely varying ways."“

 

43 In See Real Alternatives, Inc. v. Sec'y Dep't of Health & Human Servs.,150F. Supp. 3d 419,
872 (3d Cir. Aug. 4, 2017)., the court stated: “we detect a difference in the “philosophical
views” espoused by [the plaintiffs], and the “secular moral system|[s]...equivalent to religion
except for non-belief in God” that Judge Easterbrook describes in Center for Inquiry, 758 F.3d at
873. There, the Seventh Circuit references organized groups of people who subscribe to belief
systems such as Atheism, Shintoism, Janism, Buddhism, and secular humanism, all of which
“are situated similarly to religions in everything except belief in a deity.” Jd. at 872. These
systems are organized, full, and provide a comprehensive code by which individuals may guide
their daily activities.”

“4 Humanist Manifestos I and II, supra note 176 at 13-15.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 30 of 57
19

The LGBTQ community is a religion because its core doctrines, like gender identity
theory and sexual orientation orthodoxy, are nothing more than a series of unproven faith-based
assumptions and naked assertions that are implicitly religious and inseparably linked to the
religion of Secular Humanism. (Decl. Alliance of Black and White Ex-Gays and Ex-Trans. { 7;
Decl. Dr. Cretella ff 1-20; Decl. Dr. King JJ 1-20). The LGBTQ cult is highly funded and
organized with its own mantras and spiritual take on reality. Id. Instead of having a cross, the ten
commandments, or the star and crescent, the LGBTQ cult has a rainbow colored flag to convey
its private moral code.” Just because LGBTQ cult denies that it is a religion does not mean that
it is not and just because the LGBTQ cult says that its quest is based on equality does not mean
that it is.

Even the Plaintiffs’ Complaint itself is rife with religious ideology that the Plaintiffs’
attempt to pass off as “medical science.” (DE # 1954) Yet, in view of the testimonials from

medical experts, ex-gays, ex-trans, and religious experts, it takes a huge amount of religious faith

 

4 The LGBTQ cult’s creed overlaps with the BLM cult’s creed, which can be viewed here -
https://blacklivesmatter.com/what-we-believe/, Both the LGBTQ cult and the BLM have been
gathering together to recite incantations and hosting public ritualistic atonement ceremonies.
Here are some of the creed pulled from the BLM website that overlap directly with the liturgical
orthodoxy of the LGBTQ cult:

(1) We make space for transgender brothers and sisters to participate and lead.

(2) We disrupt the Western-prescribed nuclear family structure requirement by
supporting each other as extended families and “villages” that collectively care for one another,
especially our children, to the degree that mothers, parents, and children are comfortable.

(3) Weare self-reflexive and do the work required to dismantle cisgender privilege and
uplift Black trans folk, especially Black trans women who continue to be disproportionately
impacted by trans-antagonistic violence.

(4) We foster a queer-affirming network. When we gather, we do so with the intention of
freeing ourselves from the tight grip of heteronormative thinking, or rather, the belief that all in
the world are heterosexual.

(5) We are guided by the fact that all Black lives matter, regardless of actual or perceived
sexual identity, gender identity, gender expression, economic status, ability, disability, religious
beliefs or disbeliefs, immigration status, or location.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 31 of 57
20

to believe that (1) a person is born gay, that (2) a person comes out of an invisible closet and is
baptized homosexual with immutable traits,”* that (3) sexual orientation orthodoxy and gender
identity ideology are “medical science.’*” It takes an enormous amount of religious faith and a
lot of intellectual squinting to actually believe that “[self-identified t]ransgender people have a
gender identity that differs from the sex assigned to them at birth. A person’s gender identity is a
core, defining trait fundamental to a person’s sense of self and personhood.” (DE #1 § 226).
There is literally zero proof that these kinds of naked assertions scattered throughout the
Plaintiffs’ complaint are true. All such statements are unproven faith-based assumptions that are
implicitly religious and advance anti-theism in an effort to justify practices that are inconsistent
with the peace and safety of the Nation. For millennia, LGBTQ practices have amounted to is
licentious anti-theism. LGBTQ ideology is the mirror opposite of Christianity. The Plaintiffs
themselves acknowledge that by trying to argue that the 2020 Trump Rule indirectly promotes
Christianity, but what the Plaintiffs fail to understand is that the 2020 Trump Rule is actually
neutral towards religion, non-controversial, and secular in nature and that it is the 2016 Obama
Rule that is controversial, unnatural, and non-secular - seeking to put the religion of Secular

Humanism over non-religion in violation of the principles separating church and state.

 

46 The Plaintiffs use the term “closeted” in their complaint in their effort to challenge the 2020
Corrected Rule, as if it was a non-secular and neutral concept. If there was nothing inherently
immoral about LGBTQ practices and ideology then remaining “closeted” would not be a
concern. (Complaint at 194) But LGBTQ ideology and practices are self-evidently shameful, like
pedophilia, polygamy, zoophilia, and rape are. The Plaintiffs are peddling religious theories that
are camouflage as a request for equality. The goal of the Plaintiffs is to entangle our government
with the religion of Secular Humanism so that they feel less ashamed and inadequate about a
life-style that naturally produces feelings of shame and inadequacy.

47 Decl. Alliance of Black and White Ex-Gays and Ex-Trans. | 7; Decl. Pastor Penkoski {J 1-34;
Decl. Lisa Boucher {ff 1-10; Decl. Christian Resistance ff 1-21; Decl. Dr. Cretella J 1-20; Decl.
Dr. King J 1-20.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 32 of 57
21

The Plaintiffs contend that the language of the 2020 Trump Rule should revert back to
the language of the 2016 Obama Rule by relying on the recent decision in Bostock v. Clayton
Cty., Ga., 590 U.S. __, 2020 WL 3146686 (2020). The Plaintiffs accuse the Defendants of
lacking an adequate legal basis for modifying the rule, alleging that the Defendants adjusted the
Rule based on a single Federal district court ruling out of Texas. (DE #1 4 13). The Plaintiffs’
characterization is false. The legal basis that commands that the 2020 Trump Rule replace the
2016 Obama Rule is the First Amendment Establishment Clause because the language of 2016
Obama Rule, which pays respect to “sexual orientation” orthodoxy and “gender identity”
ideology, causes the 2016 Obama Rule to violate the Establishment Clause by putting the
religion of Secular Humanism over non-religion. The 2016 Obama Rule was non-secular,
whereas the 2020 Trump Rule is secular and neutral. The Establishment Clause requires that the
Government view “men as men” and “women as women.” Fortunately for the Plaintiffs, the
2020 Trump Rule does not prohibit self-identified homosexuals or self-identified transvestites
from pretending that “men are woman” or that “woman are men” because the Free Exercise
Clause safeguards their right to believe in implausible faith-based ideology that is removed from
reality. “* Yet, the Plaintiffs’ allegations that the corrections to the 2016 Obama Rule violate 5
U.S.C. § 706(2)(A) for being “arbitrary and capricious” is false. (See DE # 1 [J 226-239). The

replacement of the 2016 Obama Rule by the 2020 Trump Rule is not “arbitrary and capricious,”

 

“8 The 2016 Obama Rule “fosters discrimination” against non-observers of the religion of
Secular Humanism as advocated by the LGBTQ cult. (Complaint 197). The Constitutional 2020
Corrected Rule is neutral towards religion and is secular. The Constitutional 2020 Corrected rule
does not “foster discrimination” against self-identified homosexuals because it does not ban them
from seeking non-secular procedures from providers and insurers who want to provide them.
This is a major distinction with a difference that the Plaintiffs fail to understand.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 33 of 57

22

it is precisely what the Establishment Clause of the First Amendment of the United States
Constitution requires in view of the Lemon Test.
Ill. THE PLAINTIFFS’ CASE SHOULD BE DISMISSED WITH PREJUDICE
BECAUSE THE 2016 OBAMA RULE VIOLATES ALL THREE PRONGS OF THE
LEMON TEST BY A LANDSLIDE
The Plaintiffs’ complaint should be dismissed with prejudice for a lack of subject matter

jurisdiction and for failing to state a claim because the 2016 Obama Rule violated the
Establishment Clause by failing all three prongs of the Lemon Test, whereas the 2020 Trump
Rule does not fail the test whatsoever. To pass muster under the Establishment Clause, a
practice must satisfy the Lemon test, pursuant to which it must: (1) have a valid secular purpose;
(2) not have the effect of advancing, endorsing, or inhibiting religion; and (3) not foster
excessive entanglement with religion.” See Lemon v. Kurtzman, 403 U.S. 602 (1971).
Government action “violates the Establishment Clause if it fails to satisfy any of these prongs.”
Edwards v. Aguillard, 482 U.S. 578, 583 (1987); Agostini v. Felton, 521 U.S. 203, 218 (1997).
The evidence shows that the 2016 Obama Rule was repealed and replaced because it failed all
three prongs of the Lemon Test by a landslide in its creation and in its enforcement, and,
therefore, violated the First Amendment Establishment Clause because the 2016 Obama Rule (1)
constituted a non-secular sham that lacks a primary secular purpose, (2) cultivated an
indefensible legal weapon against non-observers of the religion of Secular Humanism, and (3)
served to excessively entangle the government with the religion of Secular Humanism, as

advocated by the LGBTQ cult. The Trump 2020 Rule does not fail any of the prongs of Lemon.

A. THE T SHOULD DISMISS THE PLAINTIFFS’ COMPLAINT BECAUSE THE
2016 OBAMA RULE WAS A SHAM THAT FAILS PRONG ONE OF LEMON
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 34 of 57
23

The Court should dismiss the Plaintiffs’ complaint because the 2016 Obama Rule
amounts to a non-secular sham that lacks a primary secular purpose, and attempts to put the
religion of Secular Humanism over non-religion. (See DE # 1 § 53) See Lemon, 403 U.S. at 612;
see also Mitchell v. Helms, 530 U.S. 793, at 807-808 (2000) (plurality opinion); Doe v. Sch. Bd
of Ouachita Parish, 274 F,3d 289, 293 (Sth Cir. 2001). To avoid invalidation, a government
action, policy, regulation, or statute “must have a secular...purpose.” At the core of the
“Establishment Clause is the requirement that a government justify in secular terms its purpose
for engaging in activities which may appear to endorse the beliefs of a particular religion.”

ACLU v. Rabun Cnty. Chamber of Commerce, Inc., 698 F.2d 1098, 1111 (11th Cir. 1983). This
secular purpose must be the “pre-eminent” and “primary” force driving the government’s action,
and “has to be genuine, not a sham, and not merely secondary to a religious objective.”
McCreary Cnty, Ky. v. ACLU of Ky., 545 U.S. 844 (2005).

The evidence shows that the 2016 Obama Rule was nothing more than a religious sham
that lacked a secular purpose, whereas the 2020 Trump Rule removed the religious constructs of
“sexual orientation” and “gender identity” to ensure that the policy had a neutral secular purpose.
* If the stated goal of the 2016 Rule was to create tolerance, unity, and equality, it would create
the very opposite if left in place. The Governments’ entanglement with the LGBTQ cult has

been a complete disaster. For example, in the wake of decisions, like in Obergefell v. Hodges,

 

49 The Supreme Court has emphasized that there are “heightened concerns with protecting
freedom of conscience from subtle coercive pressure in the elementary and secondary public
schools,” Lee v. Weisman, 505 U.S. 577, 592 (1992). The Federal courts have thus “been
particularly vigilant in monitoring compliance with the Establishment Clause” in the
public-school context, see Edwards v. Aguillard, 482 U.S. 578, 583 (1987).
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 35 of 57
24

135 S.Ct. 2584 (2015), there has not been a landrush on gay marriage,” there has been a
landrush on Christian persecution. ( Decl. Pastor Penkoski ff 1-34; Decl. Lisa Boucher {ff 1-10;
Decl. Christian Resistance Jf 1-21 ). Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights
Commission, 138 S. Ct. 1719 (2018). Moreover, in the wake of Obergefell there has not been a
landrush to “live and let live, ” there has been a landrush for devout LGBTQ activist to infiltrate
public elementary schools and public libraries for the sole purpose of targeting minors to
indoctrinate them to their Secular Humanism religion with the government’s official stamp of
approval.*! The Plaintiffs want more of that sort of thing, as they seek to feel morally superior
by using a series of racially exploitative imperialistic power plays that are intellectually

dishonest.

1. The Language Within The Four Corners Of The Plaintiffs’ Self-Defeating Complaint
Shows That The 2016 Rule Was A Sham That Lacked A Primary Secular Purpose

 

In his dissent in Obergefell, Chief Justice Roberts said that “times can blind.”*? He was
wrong. The Amici live in these times. They are not blind. They can see transcultural truth, and
the truth is that the 2020 Trump Rule is supported by the Establishment Clause. What blinds is a

subscription to the religion of Secular Humanism. As a result of their intellectual blindness, the

 

5° Prior to the Obergefell decision a few years ago, the 7.9 percent of gays who were married
would have amounted to 154,000 married gay couples. Two years later, this had grown to 10.2
percent or 198,000 married couples. (Decl. Alliance of Black and White Ex-Gays and Ex-Trans.
4 8).

51 When the LGBTQ cult says “love is love” what they really mean is that they are perfectly ok
with government assets being used to crush anyone - like the Amici - who dare to believe that
LGBTQ ideology is dehumanizing, dangerous, destructive, desensitizing, depersonalizing, and
subversive to human flourishing. What we have discovered in the wake of the Government’s
entanglement with the LGBTQ woke mob is that love without truth is just shallow
sentimentality, that people who are intolerant of intolerant people are intolerant and that people
who are judgmental against judgmental people are judgmental.

52 See also. “Times can blind.” Tr. of Oral Arg. on Question 1, at 9, 10 Obergefell v. Hodges, 135
S.Ct. 2584 (2015), stated by the Petitioners.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 36 of 57
25

Plaintiffs fail to see that they themselves provided the very legal basis in their complaint for why
their complaint itself should be dismissed. (See DE # 1 4] 291-302). In paragraph 294 of the
complaint, the Plaintiffs provide the very legal basis for exactly why the 2020 Trump Rule must
replace the 2016 Obama Rule when stating:
The Establishment Clause permits the government to provide religious accommodations
or exemptions from generally applicable laws only if, among other requirements, the
accommodation (1) lifts a substantial, government-imposed burden on the exercise of
religion, and (2) does not shift substantial costs or burdens onto a discrete class of third
parties, without regard for the third parties’ interests. In other words, the government may
“accommodate” religion in accordance with the Free Exercise Clause, but it may not
“promote” religion. (DE # 1 Jj 294)
The 2016 Obama Rule was amended precisely because it “promoted” the religion of Secular
Humanism, as advocated by the LGBTQ cult. Jd. According to the attached declarations from
ex-gays, medical experts, and licensed ministers, “gender identity” theory and “sexual
orientation” orthodoxy are not a secular “medical science”® as the Plaintiffs pretend. (Decl. Dr.
King {J 1-20; Decl. Dr. Cretella ff 1-20). “The starkly religious message” that does not escape
notice of the “reasonable observers” is that the 2016 Obama Rule intended to promote “sexual
orientation” orthodoxy and “gender identity” theory through the organs of government while
giving the apprehension to all citizens that the favored religion of the Nation was Secular

Humanism. See Trunk v. City of San Diego, 629 F.3d 1099 (9th Cir. 2011); Am. A theists, Inc.

v. City of Starke, 2007 U.S. Dist. LEXIS 19512 (M.D. Fla. 2007).

 

83 (DE # 1 7 54).

% Even though the testimonials of ex-gays and ex-trans - American citizens who the Plaintiffs
insist do not exist - are attached to this Amici in support of the 2020 Trump Rule change, who
testify under oath that that they are living proof that gender identity and sexual orientation
doctrines are implausible, the Amici are not here to prove or disprove that a gay gene exists or
that gender identity is predicated on immutability. Decl. Alliance of Black and White Ex-Gays
and Ex-Trans. J 9. The Amici have appeared to argue that the validity of gender identity and
sexual orientation orthodoxy are not proven, and, therefore, sexual orientation and gender
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 37 of 57

26

In Paragraph 295 the Plaintiffs assert the exact opposite of the truth by stating:
The Revised Rule violates the Establishment Clause by creating expansive religious
exemptions for health care providers, plans, and employees at the expense of third parties
— namely, plaintiffs, other providers, and most importantly the patients and the
individuals whom plaintiffs serve. It invites health care providers, including insurance
companies, hospitals, doctors, and nurses, to deny LGBTQ patients necessary medical
treatment based on their religious beliefs. (DE # 1 295).
The 2020 Trump Rule cures the Establishment Clause violations of the 2016 Obama Rule which
removes all of the LGBTQ doctrines from the statute, which otherwise forces all providers, all
insurers, and all taxpaying citizens to have to respect the merits of LGBTQ Secular Humanism
and treat it as the official, undisputed, and supreme religion of the United States. The 2016
Obama Rule is the definition of coercive and non-secular, whereas the 2020 Trump Rule is
neutral, natural, non-controversial, and secular in nature.*> Accordingly, the 2016 Obama Rule
was patently unconstitutional under the Establishment Clause from its inception. The 2020
Trump Rule cures those violations and restores the rule of law.

Here is how the Plaintiffs’ complaint actually should actually read to reflect the actual

truth: the 2016 Obama Rule was replaced for violating the Establishment Clause because it:

 

identity are a matter of faith, which means that they fall within the exclusive jurisdiction of the
Establishment and Free Exercise Clause of the First Amendment. The Establishment Clause
balanced with the Free Exercise Clause informs all government actors how to respond to
self-asserted sex-based identity narratives that are questionably real, questionably moral, and
have a tendency to erode community standards of decency.

55 The 2020 Trump Rule is secular and neutral just like traditional marriage is. In the
Disentanglement Act, a bill that the Amici wrote for all 50 states, the Amici define “secular
marriage” as a “legal union that represents an intended lifelong commitment between one person
who was born male and one person who was born female as husband and wife, who are of equal
but opposite genders, who become spouses of the opposite sex, and who have corresponding
sexual anatomy that if coalesced have the actual or symbolic potential to create offspring who
will likely have the input of the two spouses with whom they share the same genetic code and
unbroken ancestral chain with.” See https://disentanglementact.com/
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 38 of 57
27

(a) “has the primary purpose and effect of favoring, preferring, and endorsing [Secular
Humanism] religious beliefs and [the LGBTQ] religious denominations over others and
over nonreligion;” (DE # 1 J 299)

(b) “has the primary purpose and effect of preferring the religious beliefs of [the LGBTQ
denomination] and institutions over the lives, health, and other rights and interests of
third parties;” (DE # 1 § 299)

(c) “impermissibly entangles government with [the] religion [of Secular Humanism as
advocated by the LGBTQ denomination];” (DE # 1 4 299)

(d) makes [all taxpayers to include non-observers of the religion of LGBTQ Secular
Humanism] bear the costs and harms of [the free exercise rights for non-observers of the
licentious Secular Humanism religion to oppose its demented ideology]; (DE # 1 § 99)

The language of the Plaintiffs’ own complaint supplies the very reason why it should be
dismissed under a FRCP 12(b)(6) motion and for why the Court lacks subject matter jurisdiction
to hear this case.*° The LGBTQ cult is immensely dangerous because it not only attempts to
distort self-evident morality and normalize licentiousness, it attempts to distort constitutional

interpretation to mean exactly opposite to what it was designed to mean.*”

2. The Plaintiffs Falsely Camouflaging Their Plight In Equal Protection Language Shows
The 2016 Rule Was A Sham Predicated On An Unprincipled Ploy

The Equal Protection Clauses of the Fifth and Fourteenth Amendments hold special
significance for Black Americans. (Decl. Alliance of Black and White Ex-Gays and Ex-Trans.
11). The text of the Fourteenth Amendment, which applies to the states, guarantees that “no
state shall... deny to any person within its jurisdiction equal protection of the laws.” U.S.

Const., amend. XIV, § 1. The Due Process Clause of the Fifth Amendment, which applies to the

 

56 The 2016 unconstitutional rule causes all taxpayers to suffer the stigma of
government-sanctioned discrimination for being manated to support a government that has
excessively entangled itself with the depraved religion of Secular Humanism, as advocated by
the LGBTQ sect. The notion that self-identified transvestites will endure significant
psychological burdens or, if they can afford it, pay for things like, “brow reduction” to feminize
the face, “breast augmentation,” and lesson training to “modify the vocal range,” out-of-pocket is
a sham that fails the laughing test. (DE #1 300).

57 Decl. Alliance of Black and White Ex-Gays and Ex-Trans. { 10
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 39 of 57

28

Federal government, is similar and “includes within it a prohibition against the denial of equal
protection of the laws by the federal government, its agencies, or its officials or employees.” (DE
#1 262). When the Equal Protection Clause of the Fourteenth Amendment became law in
1868, many Black Americans were recently emancipated slaves. Four years later in 1872, the
Supreme Court suggested that race discrimination was “the evil [the Civil War Amendments]
were designed to remedy,” Slaughter-House Cases, 83 U.S. 36, 72 (1873) (“We do not say that
no one else but the negro can share in [their] protection, but . . . in any fair and just construction
of any section or phrase of these [Civil War] amendments, it is necessary to look to the purpose
which we have said was the pervading spirit of them all, the evil which they were designed to
remedy.”). It took nearly a century after the Civil War for the Supreme Court to enforce a
modicum of what we now know as substantive equality. See Brown v. Board of Educ., 347 U.S.
483 (1954).

The disgraces in our nation’s history pertaining to the civil rights of Black Americans are
unmatched. No other class of individuals have ever been enslaved, or lawfully viewed not as
human, but as property. See, e.g., Stacy Swimp, LGBT Comparison of Marriage Redefinition to
Historical Black Civil Rights Struggles is Dishonest and Manufactured (March 7, 2014),
(http://stacyswimp.net/2014/03/07/lgbt-comparison-of-marriage-redefinition-to-historical-Black-
civil-rights-struggles-is-dishonest-and- manufactured). Black Americans were subjected to
policies that forced them to attend different schools, walk on separate public sidewalks, sit at the
back of the bus, drink out of separate drinking fountains, and denied their right to assemble or
vote. Id. The dishonest LGBTQ cult has not been subject to any of those things, and certainly

not for reasons that relate to immutability and genetics.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 40 of 57
29

The Plaintiffs’ complaint reveals the inconvenient truth that the LGBTQ cult acting in
concert with the BLM cult to maliciously hijack the legitimate race-based civil rights movement
for the sole purpose of entangling our government with their barbaric Secular Humanist religion
that is predicated on an objectively repugnant private moral code by floating a stream of false
equivalencies. For the LGBTQ cult to step on the backs of slaves in an effort to secure
unconstitutional ends is truly a rare form of evil. The Plaintiffs are guilty of exactly that. Skin
color is based on immutability and genetics, whereas sexual orientation and gender identity are
based on religious faith.°** The evidence shows that any government actor who dares to pretend
that the “phony gay-civil-rights movement” is equal to the “race-based-civil-rights movement,”
whereas the “race-based-civil-rights movement” was actually predicated on immunitability and
genetics, is guilty of racial animus in-kind that manages to be racially, sexually, intellectually,
and emotionally exploitative.°’ Such offenders should probably be subject to harsh civil sanction
and subject to counter suit for abuse of process and malicious prosecution. It is beyond offensive
to people of color for the Plaintiffs to even compare their barbaric licentiousness fake plight to
the race-based civil rights plight, which was actually based on immutable skin pigmentation.

(Decl. Alliance of Black and White Ex-Gays and Ex-Trans. J 11; Decl. Dr. Cretella {J 1-20;

 

58 Decl. Alliance of Black and White Ex-Gays and Ex-Trans. 7; Decl. Dr. Cretella {J 1-20;
Decl. Dr. King {J 1-20

°° Decl. Alliance of Black and White Ex-Gays and Ex-Trans. §] 12; Decl. Dr. Cretella [J 1-20;
Decl. Dr. King J 1-20.

The Plaintiffs discuss animus in their complaint as an emotionally exploitative power play. (DE
#149 167-177). If you want to talk about who actually has animus in this controversy it is
without question the LGBTQ cult. The LGBTQ cult - including the Plaintiffs - despise everyone
who refuses to kneel down and condone their immensely evil and racist ideology. The ideology
is so toxic, even the Plaintiffs have to admit that it tends to lead to “depression, anxiety, drug
abuse, and other stress-related conditions” as if that is a selling point for why the Government
should be forced to promote their spiritual take on reality. (DE #1 161). Every single thing the
Plaintiffs argue is backwards and the exact opposite.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 41 of 57

30

Decl. Dr. King ff 1-20). Only a dangerous religious group seeking totalitarianism would muster
the indecency to advance such false equivalences that tear at America’s scars. (See Decl.
Coalition of Multi-Racial Pastors ff 8 - 11).

The Plaintiffs falsely bring their plight in the name of racial equality. (DE # 1 J]
259-273). That was certainly a clever unprincipled ploy, for who can oppose “equality?” But
that is all that it is, an unprincipled ploy that ultimately runs afoul of Establishment Clause of the
First Amendment. While there are no such things as ex-black people, there are thousands of
ex-gays. (Decl. Alliance of Black and White Ex-Gays and Ex-Trans. ¥ 13). The Plaintiffs
pretend that ex-gays and ex-trans do not exist in the same way that Secular Humanist white
supremacist pretended that the civil liberties of Black Americans did not exist during the Jim
Crow era. On balance, the 2016 Obama Rule was a sham that fails prong one of the Lemon test,

whereas the 2020 Trump Rule is Constitutionally sound.”

3. The Plaintiffs’ Attempted Misuse Of The Substantive Due Process Clause
Demonstrates That the 2016 Rule Is A Non-Secular Sham

The Plaintiffs’ efforts to pretend that the Substantive Due Process of the Fifth
Amendment supports their cause of action - alone - demonstrates that the 2016 Rule is a
non-secular sham. (DE # 1 ff] 291 - 302) Substantive Due Process is not relevant to these

proceedings whatsoever. Substantive Due Process can only be invoked if the matter involves

 

8 Make no mistake, any government official that permits the government to entangle itself with
LGBTQ Secular Humanism is on a mission to destroy the race-based civil rights movement led
by Pastor Martin Luther King Jr. Such government officials are undoubtedly enemies of
decency. President Obama certainly was. So was his unconstitutional 2016 Obama Rule that has
been rightfully replaced by the 2020 Trump Rule. (Decl. Alliance of Black and White Ex-Gays
and Ex-Trans. { 14)
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 42 of 57

31

American history and heritage.®' The history of homosexuality was that it was illegal for the
same reason that polygamy still is until 2003 when the Supreme Court in Lawrence v. Texas, 539
U.S. 558 (2003) overruled Bowers v. Hardwick, 478 U. S. 186 (1986). See Reynolds, 98 U.S.145
at 166-167. The Amici are not arguing that the homosexual practices return to being illegal
again, but Amici are demanding that the 2020 Trump Rule never revert back to include the
language of the 2016 Obama Rule because the Establishment Clause prohibits it for the very
reasons that the Plaintiffs argue that it does not. (See DE #1 YJ 291 - 302).

4. The Plaintiffs’ Case Is Based On Nothi re Than Emotional Appeals That
Cannot Be Used To Usurp The Establishment Clause

Like with the LGBTQ activist Plaintiffs in Obergefell v. Hodges, 135 S.Ct. 2584 (2015),
United States v. Windsor, 133 S.Ct. 2675 (2013), and Bostock v. Clayton Cty., Ga.,590 U.S. __,
2020 WL 3146686 (2020), the Plaintiffs’ entire case here is based on nothing more than a
profuse stream of emotional appeals.” There is a long standing jurisprudence that emotional
appeals - even seemingly really good ones - cannot be used to usurp the Establishment Clause.

See Holloman v. Harland, 370 F.3 1252 (11th Cir. 2004).® In this case, the Plaintiffs’ complaint

 

61 Washington v. Glucksberg, 521 U.S. 702, 721 (1997), many other cases both before and after
have adopted the same approach. District Attorney's Office for Third Judicial Dist. v. Osborne,
557 U. S. 52, 72 (2009);; Flores, 507 U. S., at 303;; United States v. Salerno, 481 U.S. 739, 751
(1987);; Moore v. East Cleveland, 431 U.S. 494, 503 (1977) (plurality opinion); see also id., at
544 (White, J., dissenting) (“The Judiciary, including this Court, is the most vulnerable and
comes nearest to illegitimacy when it deals with judge-made constitutional law having little or no
cognizable roots in the language or even the design of the Constitution.”);; Troxel v. Granville,
530 U.S. 57, 96-101 (2000) (KENNEDY, J., dissenting) (consulting ““[o]ur Nation’s history,
legal traditions, and practices’ and concluding that “[w]e owe it to the Nation’s domestic
relations legal structure . . . to proceed with caution” (quoting Glucksberg, 521 U. S., at 721)).

® Obergefell, Windsor, and Bostock were decided under the wrong Constitutional narrative, and
the Secular Humanist justices know it or should have know it.

63 In Holloman, a public school teacher defended a daily moment of silent prayer by arguing that
she intended to teach students compassion, pursuant to a character education plan mandated by
the State. Id. at 1285. The court concluded that this emotional explanation did not constitute a
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 43 of 57
32

consists of nothing more than a stream of emotional appeals that are barred from being used to
usurp the Establishment Clause. Accordingly, the LGBTQ cult’s efforts to force the 2020 Trump
Rule revert back into the 2016 Obama Rule must fail.“ Some examples of the emotional appeals

scattered throughout the complaint are in the following footnote: * Because it is obvious that the

 

valid secular purpose because the teacher’s most basic intent unquestionably was to offer her
students an opportunity to pray. “While [the teacher] may also have had a higher-order ultimate
goal of promoting compassion, we look not only to the ultimate goal or objective of the behavior,
but also to the more immediate, tangible, or lower-order consequences a government actor
intends to bring about.” Id. The unmistakable message of the court’s teaching in Holloman is that
a government actor cannot employ a religious means to serve an otherwise legitimate secular
interest. Id. at 1286. The Holloman court further concluded that “a person attempting to further
an ostensibly secular purpose through avowedly religious means is considered to have a
Constitutionally impermissible purpose.” Id., citing Jagar v. Douglas County School, 862 F.2d
824, 830 (11th Cir. 1989)(“An intrinsically religious practice cannot meet the secular purpose
prong of the Lemon test.”).

* The Plaintiffs repeatedly allege that self-identified transvestites were getting turned away from
hospitals. (Complaint 191). The Plaintiffs fail to understand the distinction between a secular
and non-secular medical procedure. For example, when a doctor performs an abortion because a
mother’s life is in danger or because the pregnancy was the result of rape and incest, then that
abortion is secular in nature. See the Life Appropriation Act. A non-secular abortion is an
abortion that takes place when a mother seeks to sacrifice her child on the altar of convenience.
The Establishment Clause of the First Amendment prohibits taxpayers from funding convenience
abortions and all existing state and federal policies that use taxpayer funds to finance procedures
are unconstitutional. (see the Life Appropriation Act; https://lifeappropriationact.com/).
Likewise, the government cannot be used to (1) coerce health care providers or insurers to
perform non-secular procedures that advance LGBTQ Secular Humanism ideology or to (3)
require that taxpayer funds be directly or indirectly used to subsidize such non-secular
procedures. Just as Secular Humanists have set up modern day child sacrifice mills in the form of
Planned Parenthood, the LGBTQ cult can erect their own non-secular transvestite facilities to
carry out their self-injurious religious practices - just not at the taxpayers expense.

65 Here are some examples of emotional appeals and what they signify: (1) First,
“(Self-identified] LGBTQ people will be discouraged from seeking the health care they [feel]
that they need.”(DE # 1 J 184). Meanwhile, no one is making self-identified transvestites believe
in transgenderism or seek non-secular procedures.

(2) Second, the Plaintiffs repeatedly argue that the 2016 Obama Rule should be
reinstated because members of the LGBTQ cult might feel uncomfortable disclosing “all aspects
of their health history, sexual history, and gender identity.” (DE # 1 J 199). Choosing to speak
out or remain silent has no bearing on whether the 2020 Trump Rule reflects what the
Establishment Clause requires.#
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 44 of 57

33

2016 Obama Rule was a sham that lacked a primary secular purpose in violation of the Prong
One of Lemon, this factor - alone - "may be dispositive of the constitutional enquiry" in this
case. McCreary County, 545 U.S. at 850-51.

B. THE COURT SHOULD DISMISS THE PLAINTIFFS ACTION BECAUSE THE 2016
RULE FAILS PRONG KF THE LEMON TEST WHEREAS THE 2020 TRUMP
RULE DOES NOT
The Amici - like tens of thousands of other Americans who do not condone Secular

Humanism - have been stalked, canceled, targeted, libeled, harangued, slandered, falsely

accused, punished, threatened, brutalized, persecuted, violated, and assaulted by the phony
tolerant and dangerous LGBTQ cult in the wake of the government’s unconstitutional decision to
entangle itself with its immoral religious ideology. (Decl. Alliance of Black and White Ex-Gays
and Ex-Trans. {| 15; Decl. Pastor Penkoski {J 1-34; Decl. Lisa Boucher J 1-10; Decl. Christian
Resistance {f 1-21). This Court should immediately dismiss the Plaintiffs’ complaint because the

2016 Obama Rule is calculated to establish the religion of Secular Humanism, as advocated by

the LGBTQ cult as the official religion of the Nation in a manner that fails prong two of the

 

(3) Third, the Plaintiffs contend that the 2020 Trump Rule “stigmatizes them as
second-class citizens.”(DE # 1 § 271) Meanwhile the 2016 Obama Rule robs all ex-gays and
ex-transvestites from any citizenship and it “stigmatizes” all providers, taxpayers, and insurers
who sincerely believe that LGBTQ ideology and practices are objectively immoral as
“second-class citizens” because it forces them to support a religious worldview in a manner that
causes them to violate their own conscience.

(4) Forth, the Plaintiffs contend that the Corrected 2020 Rule will contribute to
“depression, anxiety, drug abuse, and other stress-related conditions” which is nothing more than
an emotional appeal floated by the Plaintiffs to sneak around the Establishment Clause.
(Complaint at 61). Meanwhile, back in reality, no one is making anyone take the path of
indoctrinating themselves in LGBTQ ideology, and how the Plaintiffs think that the devastating
consequences that come from buying into their religious worldview is a selling point to force the
government to endorse it is more the same evidence of the profound intellectual darkness that
surrounds the LGBTQ cult. The government has the obligation to not respect the LGBTQ
ideology and it has the prerogative to regulate its practices. See Reynolds, 98 U.S.145 at
166-167.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 45 of 57

34

Lemon Test. The 2016 Rule is just another fire hose that can be used to blast away the civil
rights of non-observers of the religion of Secular Humanism. Under this second prong of the
Lemon test, courts ask, “irrespective of the...stated purpose, whether [the state action]...has the
primary effect of conveying a message that the [government] is advancing or inhibiting religion.”
Indiana Civil Liberties Union v. O’Bannon, 259 F.3d 766, 771 (7th Cir. 2001). The “effect
prong asks whether, irrespective of government’s actual purpose,” Wallace v. Jaffree, 472 U.S.
38, 56 n.42 (1985), the “symbolic union of church and state...is sufficiently likely to be perceived
by adherents of the controlling denominations as an endorsement, and by the nonadherents as a
disapproval, of their individual religious choices.” School Dist. v. Ball, 473 U.S. 373, 390
(1985); see also Larkin v. Grendel's Den, 459 U.S. 116, 126-27 (1982)(even the “mere
appearance” of religious endorsement is prohibited). The Plaintiffs want the 2016 Obama Rule
put back in place knowing that it will create an indefensible “legal weapon that no [Christian or
non-observer of Secular Humanism] can obtain.” City of Boerne v. Flores, 521 U.S. 507 (1997).
The Plaintiffs seek to force insurers, providers, and taxpayers to respect their narrow and
irrational take on sexuality, faith, and religion without the ability for any non-observer to object
in light of the government’s unconstitutional endorsement.

"A proper respect for both the Free Exercise and the Establishment Clauses compels the
Federal Government to pursue a course of ‘neutrality toward religion,’ favoring neither one
religion over others nor religious adherents collectively over nonadherents." Board of Educ, of
Kiryas Joel Vill. Sch. Dist.v. Grumet, 512 U.S. 687, 696 (1994) (quoting Liberty v. Nyquist, 413
U.S. 756, 792-93 (1973)). Of course the 2020 Trump Rule is neutral and does not take away

from the LGBTQ cult to invent a religious belief system even though it is objectively licentious
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 46 of 57
35

and nothing more than an attempt to justify practices that are inconsistent with the peace and
safety of the Nation.

The U.S. Constitution, while permitting legislators to act on preferences in policy and
politics, plainly prohibits government actors to imbue official favored status on particular
religious communities. See, e.g., Grumet, 512 U.S. 687 at 703 (stating that the "fundamental
source of constitutional concern" in that case was that the government “itself may fail to exercise
governmental authority in a religiously neutral way" and lauding that "principle at the heart of
the Establishment Clause, that government should not prefer one religion to another, or religion
to irreligion"). "Whatever else the Establishment Clause may mean..., it certainly means at the
very least that the government may not demonstrate a preference for one particular sect or creed
(including a preference for Christianity [and Secular Humanism] over other religions).

The Plaintiffs want “sexual orientation” orthodoxy and “gender identity” ideology
reinserted back into the 2020 Trump Rule knowing that it has the effect of causing the
government to endorse the plausibility of their narrow, exclusive, and dangerous religious
worldview. Every time the government directly or symbolically endorses LGBTQ ideology, it
causes devout members of the LGBTQ cult and its supporters to feel entitled to socially

marginalize and even violently oppress anyone who dares to disagree with the plausibility of

 

86 The clearest command of the Establishment Clause is that one religious denomination cannot
be officially preferred over another." County of Allegheny v. ACLU, 492 US 573, 605 (1989)
(citations and internal quotation marks omitted). This includes a prohibition of government
actors putting non-institutionalized religions, like the religion of Secular Humanism, over
non-religion through direct and symbolic acts.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 47 of 57
36

their irrational ideology. The Plaintiffs want the 2020 Trump Rule to revert back to the 2016
Obama Rule because the Plaintiffs are interested in “dominance,” not “tolerance.” °

The Amici can just hear the Plaintiffs calling the Amici “bigots” under their breath as they read
this because that is all the Plaintiffs can really do - name call - because they certainly cannot win
on the merits without asking the Court to become complicit in full fledge dishonest
misinterpretation of the law. Attempting to gain level through Bostock v. Clayton Cty., Ga., 590

U.S. __, 2020 WL 3146686 (2020) will not cut it either because Bostock was decided on faulty

grounds just as Dred Scott v. Sandford, 60 U.S. 393 (1857) was.®

 

8? The Plaintiffs demand in their complaint that the government require proper pronouns and
speech codes that flow out of their religion be used by medical professionals. (Complaint 188).
The Establishment Clause of the First Amendment prohibits the government from mandating
pronoun changes or speech codes to respect the creeds of Secular Humanism that flow out of the
LGBTQ denomination. If members of the LGBTQ denomination want to use fake pronouns or
speech codes that flow out of their implausible religion - they have every right to do so under the
Free Exercise Clause. But the Establishment Clause prohibits the government from mandating
pronoun changes or speech codes that respect Secular Humanism religion for the same reason the
Establishment Clause blocks the government from endorsing, favoring, respecting, and
recognizing gender identity and sexual orientation orthodoxy. Doing so creates an indefensible
legal weapon against non-observers of the religion of Secular Humanism.

88 Obergefell, Windsor, and Bostock all must be relegated to the same trash heap of history that
Dred Scott v. Sandford, 60 U.S. 393 (1857) was relegated to and for the same reasons. All of
those cases involved liberal activist judges misusing substantive due process into a wellspring of
unchecked judicial policy making. Just as Brown v. Board of Education of Topeka, 347 U.S. 483
(1954) overruled Plessy v. Ferguson, 163 U.S. 537 (1896), Obergefell, Windsor, and Bostock
must be overruled for being decided on the wrong Constitutional bases. What the Plaintiffs do
not understand is that “Stare Decisis” does not keep Obergefell, Bostock, and Windsor from
being overruled because Supreme Court has held that “questions which merely lurk in the record,
neither brought to attention of the court nor ruled upon, are not to be considered as having been
so decided as to constitute precedents.” Cooper Industries, Inc. v. Aviall Services, Inc. 543 U.S.
157 (2004). The Establishment Clause claims were “lurking” in the record but undecided in
Obergefell, Windsor, and Bostock. All three of those cases involved Constitutional interpretation
and “[Stare Decisis] is at its weakest when [the courts] interpret the Constitution because [their]
interpretation can be altered only by constitutional amendment or by overruling [their] prior
decisions.” Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 63, 116 S.Ct. 1114, 1127, 134
L.Ed.2d 252 (1996); St. Joseph Stock Yards Co. v. United States, 298 U.S. 38, 94, 56 S.Ct. 720,
744, 80 L.Ed. 1033 (1936) (Stone and Cardozo, JJ., concurring in result) ("The doctrine of stare
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 48 of 57

37

It is obvious that the 2016 Obama Rule "[m]anifest[ed] a purpose to favor one faith over
[all others],” McCreary at 860, thereby conveying to adherents of the selected faiths, "that they
are insiders, favored members of the political community, and invariably sending the converse
message to nonadherents.” Santa Fe Indep, Sch. Dist v, Doe, 530 U.S. 290, 310 (2000)(citing
Lynch v. Donnelly, 465 U.S. 668, 688 (1984) O'Connor, J., concurring)) (internal quotation
marks omitted); see also McCreary at 860. The Establishment Clause forbids the government to
dole out political benefits in this manner the Plaintiffs desire for the exact reasons the Plaintiffs
allege in their self-defeating complaint. (DE # 1 J] 291- 302).

Even if it was proven that “many local primary-care physicians unaffiliated with
Whitman-Walker have refused to prescribe hormone therapy for [self-identified] transgender[s],”
such physicians have the fundamental right to do so because otherwise they will be required to
violate their conscience by enabling a religious worldview to advance in a manner that they
believe is deeply immoral. (DE # 1 § 188) The Plaintiffs want the 2020 Trump Rule to revert
back to 2016 Obama Rule language so that the Plaintiffs can have a weapon to brutalize
physicians, insurers, and providers for having the humility and common sense to believe that
Secular Humanism ideology advocated by LGBTQ cult is immoral and that to advance LGBTQ
Secular Humanism is itself an act of immorality.

C. THE PLAINTIFFS’ COMPLAINT SHOULD BE DISMISSED BECAUSE THE
2016 OBAMA RULE FAILED PRONG THREE OF LEMON

"The [E]stablishment of religion’ clause of the First Amendment means at least this: No

tax in any amount, large or small, can be levied to support any religious activities or institutions:

 

decisis...has only a limited application in the field of constitutional law"). The Judicial branch is
going to learn the difficult lesson that it never pays to go along with the LGBTQ cult’s ongoing
lies.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 49 of 57

38

whatever they may be called, or whatever form they may adopt to teach or practice religion."
Everson, 330 U.S. at 15-16. The Supreme Court has repeated this foundational principle on
many occasions and, despite finding that other, indirect forms of support sometimes pass
constitutional muster, has never strayed from the basic rule that the government may directly or
symbolically engage in action puts religion over non-religion.

The 2016 Obama Rule violates the Establishment Clause by promoting LGBTQ ideology
through the organs of government. See Mitchell,, 530 U.S. at 890 ("[F]rom the start we have
understood the Constitution to bar outright...aid to religion."); Rosenberger v. Rector & Visitors
of the Univ, of Va , 515 U.S. 819, 842 (1995) (stating that "[t]he Court of Appeals (and the
dissent) [were] correct to extract from our decisions the principle that we have recognized special
Establishment Clause dangers where the government [directly supports] sectarian institutions");
Committee for Pub. Educ. v. Nyquist, 413 U.S. 756, 772 (1973) ("Primary among those evils"
against which the Establishment Clause guards "have been sponsorship, financial support, and
active involvement of the sovereign in religious activity.") (citations and internal quotation
marks omitted).

Here is the cleanest way of understanding how the 2016 Obama Rule violates prong three
of Lemon: (1) there are thousands of taxpayers, insurers, and health providers who sincerely
believe that LGBTQ ideology and practices are completely immoral; (2) it follows that these
taxpayers, insurers, and health providers also believe that to enable acts of immorality is itself an
act of immorality; (3) therefore, the 2020 Trump Rule must not be replaced with the 2016
Obama Rule because otherwise it will coercively cause taxpayers, insurers, and health providers

to violate their own conscience by the simple act of paying taxes or by providing health services
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 50 of 57
39

that promote LGBTQ ideology and practices; (4) this constitutes is an evil that the Establishment
Clause of the First Amendment was designed to prohibit. ©
V. THE PLAINTIFFS’ CASE SHOULD BE DISMISSED BECAUSE HHS HAS A
NARROWLY TAILORED COMPELLING INTEREST TO UPHOLD COMMUNITY
STANDARDS OF DECENCY
Even if the Establishment Clause of the First Amendment was not the dispositive legal

basis backing the 2020 Trump Rule - and it is - there are other reasons why the 2016 Obama
Rule had to be repealed and replaced. For example, the government has a narrowly tailored
compelling interest to uphold community standards of decency. Paris Adult Theatre I v. Slaton,
413 US 49 (1973). LGBTQ ideology erodes community standards of decency. Many courts
have taken the position that “any school boy knows that a homosexual act is immoral, indecent,
lewd, and obscene. Adult persons are even more conscious that this is true.” Schlegel v. United
States, 416 F. 2d 1372, 1378 (Ct. Cl. 1969). It is not as if this reality has somehow magically

changed just because it is the year 2020. The Supreme Court has long since held that "to simply

adjust the definition of obscenity to social realities has always failed to be persuasive before the

 

® The Plaintiffs do not understand the difference between secular medical producers and
non-secular cosmetic procedures in the same way that their sister denomination, Planned
Parenthood Federation of America does not. If a 32 year old woman wants to sacrifice her child
on the altar of convenience because she believes that the baby inside the womb is not a person -
she can do so - but the Establishment Clause requires that she pay for it herself so that there is no
blood on the hands of the taxpayers who believe that such a practice are self-evidently evil. (See
the Life Appropriation Act). That is what the Establishment Clause balanced with the Free
Exercise Clause requires. Likewise, if a 25 year old male who self-identifies as a transvestite
wants to have an “brow reduction” to feminize his face, “breast augmentation,” and lesson
training to “modify the vocal range” to advance his religious belief that he is mystically really a
woman trapped in a man’s body, he can do so. But he might have to pay for it himself because
the government cannot force insurers, health providers, and taxpayers to cover the cost of
non-secular procedures that may cause them to feel culpable in enabling acts of immorality. The
Plaintiffs seem unwilling or incapable of understanding these principles and instead remain bent
on twisting the truth just they attempt to distort everything else in life.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 51 of 57

40

courts of the United States.” Ginsberg v. New York, 390 U.S. 629, 639-40, 88 S.Ct. 1274, 20
L.Ed.2d 195 (1968), Mishkin v. State of New York, 383 U.S. 502, 509, 86 S. Ct. 958, 16 L. Ed. 2d
56 (1966), and Bookcase, Inc. v. Broderick, 18 N.Y.2d 71, 271 N.Y.S.2d 947, 951, 218 N.E.2d
668, 671 (1966). LGBTQ ideology and practices have always been classed as obscenity, and
community standards do not evolve, but the Plaintiffs prove that groups of people can become
desensitized, jaded, and blinded by the implausible religion of Secular Humanism. The Plaintiffs
seek to use the organs of government to desentize all Americans - forcing them to kneel at their
altar so that the LGBTQ cult can feel less ashamed and inadequate about putting into practice a
religious belief system that naturally breeds feelings of shame and inadequacy.

HHS cannot be forced to reverted the 2020 Trump Rule back to the 2016 Obama Rule
because “sexual orientation” orthodoxy and “gender identity” ideology, like all LGBTQ dogma,
promotes licentiousness, leads to obscenity code violations, and amounts to nothing more than an
attempt to justify practices that are inconsistent with the peace and safety of the government.”
HHS has a narrowly tailored compelling government interest in replacing the indecent and
subversive 2016 Obama Rule with the 2020 Trump Rule, which does not erode community
standards of decency.

VI. ADDRESSING THE ULTIMATE QUESTION - PUBLIC INTEREST
The 2020 Trump Rule represents the truth, whereas the 2016 Obama Rule symbolizes a

lie. The public interest would best be served by dismissing the Plaintiffs’ case because the truth

is worth fighting for. The truth is that the 2020 Trump Rule accords with the Establishment

 

7 As authors of the Human Trafficking And Child Exploitation Prevention Act, the Amici
constantly run up against the BLM cult and LGBTQ cult who want to get rid of obscenity codes
and to legalize prostitution. See http://www.humantraffickingpreventionact.com/.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 52 of 57

41

Clause and the 2016 Obama Rule does not.” At the very heart of this controversy is the
ultimate question: “Is America a Christian Nation” or “Is America a Secular Humanist Nation?”
That is, the paramount question raised by this case is “must the laws of the United States be
based on the private moral code of Christianity or must the laws be predicated on the private
moral code of Secular Humanism?” This case provides that actual final answer that will serve the
public’s interest by restoring the rule of law. It is well established that without “faith,” there is
no basis for “morality,” and without “morality” there is no basis for “law.” There is no way to
avoid this axiom. (Decl. Coalition of Multi-Racial Pastors [J 10-11). When a devout Secular
Humanist, like the Plaintiffs, implicitly suggests that not one moral doctrine should be used as

the basis for law, that position itself is a moral doctrine that they are asserting should be used as

 

™ The truth sets us free. Without “truth,” there is no “freedom.” “Freedom” comes from “the
truth,” and “truth” is more important than we might think, and “freedom” is more complex than
we might know. /d. “Freedom” is not the presence of restriction nor the absence of restrictions.
“Freedom” is the presence of the right restrictions. The set of restrictions that fit the givenness of
our nature and accord with the truth about the way we are and the way things are. Take fish on
the grass. A fish on the grass is not free. Jd. It is only when the fish is restricted to the water that
it can swim lightning fast and even breath. And so it goes with humans. We are not designed to
put into practice the ideology promoted by the LGBTQ cult. The litergucial orthodoxy of the
LGBTQ cult does not accord with our “logas” - the way we are designed. This does not mean
that the Plaintiffs and others cannot put into practice LGBTQ orthodoxy, but it does mean that it
is unwise to do so from an objective reasonable observer standpoint and according to the
testimonies of ex-gays and ex-trans, who the Plaintiffs insist do not exist. (Decl. Alliance of
Black and White Ex-Gays and Ex-Trans. J 16). Before a litany of legislative bodies, the Amici
are constantly pressing for the enactment of policies that contain the right set of restrictions in
order to promote the greatest amount of peace, intimacy, reconciliation, forgiveness, and healing
to better enable human flourishing - to protect the “Western-prescribed nuclear family structure.”
Now here, before this Court, is the opportunity for the judicial branch for the first time to tell the
truth which is this: (1) the LGBTQ community is a cult that is inseparably linked to the
anti-theistic religion of Secular Humanism; (2) the Establishment Clause prevents the State and
Federal Government from enacting and enforcing laws that directly or symbolically treat its
ideology as if it is real; (3) LGBTQ orthodoxy, while religious in nature, is subjected to limited
protection under the Free Exercise Clause because it promotes licentiousness and amounts to an
attempt to justify practices that are inconsistent with the peace and safety of the state.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 53 of 57
42

the superior basis for law. To suggest that all moral doctrines are equal and lead to human
flourishing is itself a truth claim that is vying for superiority amongst all the others. To deny this
reality is just an imperialistic political power play and a way for moral relativists, like the
Plaintiffs, to try to come out on top in a policy debate so that they get their way. If all moral
doctrine where equal, there would be no way to condemn Nazi ideology, which was based on the

religion of the blood, which was just another denomination of Secular Humanism.”

 

” To say that “there are no absolute truths” is itself “an absolute truth” and to fail to see that is to
refuse to see. Id. As C.S. Lewis stated, “You can't go on ‘seeing through’ things forever. The
whole point of seeing through something is to see something through it. To ‘see through’ all
things is the same as not to see.” The evidence shows that the United States, as a Nation,
recognizes the existence of absolute truth, as reflected in the Constitution of the United States
and the Declaration of Independence. The United States recognized the existence of natural law
that parallels the edicts of Christianity at the Nuremberg trials, which the United States
government still recognizes. See Kiobel v. Royal Dutch Petroleum Co., 621 F.3d 111, 154 (2d
Cir. 2010). Consider this, the Uniform Code of Military Justice (UCMJ) 809.ART.90 (20),
makes it clear that military personnel need to obey the "lawful command of his superior officer,"
891.ART.91 (2), the "lawful order of a warrant officer", 892.ART.92 (1) the "lawful general
order", 892.ART.92 (2) "lawful order." Military Officers have an obligation and a duty to only
obey lawful moral orders and indeed have an obligation to disobey unlawful immoral orders,
including orders issued by the President. Armbruster v. Cavanaugh, 140 Fed. Appx. 564 (3rd
Cir. 2011). Ifa junior Army Officer is obligated to disobey immoral orders by superior
commanders, on what basis can he decide which orders are moral and which ones are not, if
there is not an objective universal morality that is self-evident like Christianity? Yet, since such
an objective moral doctrine has been recognized to exist in the Military, then very obviously that
same objective moral doctrine is necessary as a foundation for laws and policies in the civilian
sector. In his letter from Birmingham jail, Pastor Martin Luther King Jr. said that “the only way
that he can know that a human law is unjust is if there is a divine law/higher law from God.” If
there was no God and no divine higher law, there would be no way of knowing if a particular
human law was unjust or not. If there is “no belief in God” and “no higher divine law,” then
how can we say that any historical event is “unjust”? There would be no basis to condemn the
Nazis holocaust, slavery, or Jim Crow laws. If there is nothing but “nature,” and if “nature” is all
there is, what is more natural than violence? Natural Selection explains that it is how we got
here - the strong eating the weak right? The LGBTQ cult certainly believes that in accordance
with their “ends justify the means” philosophy as they repeatedly twist the truth in an unrelenting
effort to pump their toxic ideology through the organs of Government.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 54 of 57
43

But the ultimate question remains: “Is America a Christian Nation or is America a
Secular Humanist Nation?” The Supreme Court in Church of the Holy Trinity v. United States,
143 U.S. 457 (1892) answered the question stating, “America is a Christian Nation,” which
should have in theory ended the debate. However, the Supreme Court in Planned Planned
Parenthood v. Casey, 505 U.S. 833, 846-47 (1992) implied that “America is a Secular Humanist
Nation” when it enshrined the modern cultural mindset by stating “at the heart of liberty is the
right to define one's own concept of existence, of meaning, of the universe." But the Casey
religious principle can be boiled down to mean “to each his own,” which in German means,
“Jedem das Seine,” which is exactly what the sign over Buchenwald concentration camp read. So
clearly America can never be a Secular Humanist Nation with a worldview that can produce a
holocaust.

Here is the final answer, at best it could be said that “America is [unofficially] a Christian
nation” insofar as the laws of this Country can parallel self-evident truth claims that parallel the
truth claims found in the Bible by coincidence. But the government must never mandate
Christianity because, after all, it would promote the very same toxic legalism that Christ himself
was so adamantly opposed to.”? The Fourteenth Amendment’s Equal Protection Clause and the
Declaration of Indepence parallel what is found in Genesis 1:27 that all men are made in the
image of God, and therefore, each life matters.” This coincidental symmetry does not make the

Fourteenth Amendment unconstitutional because it is based on self-evident truth that is natural,

 

73 The Government can base laws on Christian morality. This is why polygamy and pedaphilia
are illegal, even though the Plaintiffs wish they were legal. See Reynolds at 166-167.

™ “We hold these truths to be self-evident, that all men are created equal, that they are endowed
by their Creator with certain unalienable Rights, that among these are Life, Liberty and the
pursuit of Happiness.” Declaration of Independence.
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 55 of 57

44

neutral, and non-controversial. Christianity can stand on its own merits, without the
government's official endorsement and stamp of approval and does not need to be the mandated
religion of the Country. But the same cannot be said of the religion of Secular Humanism as
advocated by the LGBTQ cult. Without the government’s direct endorsement, the doctrine
stemming from the religion of Secular Humanism, as advocated by the LGBTQ cult, tends to
implode under the weight of its own absurdity because it self-evidently bucks common sense.

Dismissing the Plaintiffs’ lawsuit will convey that our government is not a church. It is
not aredeemer. And it will serve the public’s interest by dismissing the Plaintiffs’ complaint
because it will reinforce the principles of the separation of church and state, conveying to the
LGBTQ cult that the days of them pushing to get our government in bed with different
denominations of Secular Humanism are over. The public interest will be best served by the
restoration of the rule of law and the reinforcement of the ultimate supremacy of the Constitution
of the United States.

VI. CONCLUSION

The cruelest thing that a parent can do to a child is to enable their destruction. The same
applies to the government here in respect to the LGBTQ cult, which is continually desperate for
the government’s stamp of approval. The 2020 Trump rule must be allowed to remain intact
because it comports with the Establishment Clause of the First Amendment, unlike the 2016
Obama Rule. “Obama” and his 2016 Rule have come to stand for “Constitutional abomination,”
whereas “Trump” and his 2020 Rule have come to represent the triumph in the restoration of the
tule of law. At the root of this controversy in the past is the failure of litigants and some judges

to know the objective difference between (1) right and wrong, (2) real and fake, and (3) secular
Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 56 of 57
45

and non-secular. When Defendant Severino decried the 2016 Obama Rule because it ran counter

66.

to some people’s “moral, and religious beliefs about biology” and because, in his opinion, the

2016 Obama Rule “create[d] special privileges, new protected classes, or new rights to particular
procedures,” he was partially right. (DE # 1 7 168). What Defendant Severino was trying to say
is that the 2016 Obama Rule violated the Establishment Clause in its creation and enforcement
for failing the three prongs of the Lemon Test. In 2016, when Defendant Severino denounced the
Department of Justice’s enforcement of Title [X’s sex discrimination protections as they applied
to self-idenfied transvestites, as “using government power to coerce everyone, including
children, into pledging allegiance to a radical new gender ideology” what he was really saying is
that the government cannot endorse LGBTQ ideology because it is inseparably linked to the
religion of Secular Humanism, and the Establishment Clause does not permit that for the reasons
that the the Plaintiffs set out in their own self-defeating complaint. (DE # 1 § 169, JJ 291 - 302).
The Trump 2020 Rule must be left to remain in place because Establishment Clause of the First

Amendment is the legal basis supporting it.

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Case 1:20-cv-01630-JEB Document 30-1 Filed 07/14/20 Page 57 of 57

46

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